Filed 08/21/19                                                                           Case 19-25191                                                                                            Doc 9
     Fill in this information to identify your case:

     Debtor 1                   Christopher Bradley Hay
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name

                                                              EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                  DIVISION

     Case number           2019-25191
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             570,000.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             289,992.33

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             859,992.33

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,054,544.38

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             481,097.28


                                                                                                                                         Your total liabilities $             1,535,641.66


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,171.31

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                9,698.78

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
     Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 08/21/19                                                             Case 19-25191                                                                  Doc 9
     Debtor 1      Christopher Bradley Hay                                                    Case number (if known) 2019-25191
                 the court with your other schedules.

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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Filed 08/21/19                                                                               Case 19-25191                                                                                 Doc 9
     Fill in this information to identify your case and this filing:

     Debtor 1                    Christopher Bradley Hay
                                 First Name                                 Middle Name                    Last Name

     Debtor 2
     (Spouse, if filing)         First Name                                 Middle Name                    Last Name

                                                                  EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                      DIVISION

     Case number            2019-25191                                                                                                                               Check if this is an
                                                                                                                                                                     amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.

            Yes. Where is the property?




     1.1                                                                            What is the property? Check all that apply
            2330 Temple Drive                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
            Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
            Davis                             CA        95618-0000                         Land                                       entire property?          portion you own?
            City                              State              ZIP Code                  Investment property                               $570,000.00                $570,000.00
                                                                                           Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                           Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one    a life estate), if known.
                                                                                           Debtor 1 only                              Fee simple
            Yolo                                                                           Debtor 2 only
            County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                           At least one of the debtors and another         (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:
                                                                                    Debtor's primary residence (3 bedroom/2 bath residential, 1234 sq. ft.).
                                                                                    APN: 032-183-019-000
                                                                                    Christopher B. Hay and Jana D. Hay, Husband and Wife as Joint Tenants


     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                      $570,000.00


     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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Filed 08/21/19                                                                        Case 19-25191                                                                                  Doc 9
     Debtor 1        Christopher Bradley Hay                                                                            Case number (if known)       2019-25191
    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


      3.1    Make:       Chrysler                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:      Pacifica                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:       2017                                            Debtor 2 only                                            Current value of the      Current value of the
             Approximate mileage:                  37,389                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Registered Owner: Jana Hay
                                                                         Check if this is community property                              $16,288.00                 $16,288.00
                                                                         (see instructions)



      3.2    Make:     Dodge                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                       Ram 1500 SLT Crew                                                                                          the amount of any secured claims on Schedule D:
             Model:    Cab                                               Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:     2015                                              Debtor 2 only                                            Current value of the      Current value of the
             Approximate mileage:     83,867                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Registered Owner: Christopher
             B. Hay                                                      Check if this is community property                              $21,095.00                 $21,095.00
                                                                         (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

            No
            Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>                 $37,383.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....




    Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
Filed 08/21/19                                                               Case 19-25191                                                                        Doc 9
     Debtor 1       Christopher Bradley Hay                                                             Case number (if known)     2019-25191


                                        Household Goods & Furnishings located at 2330 Temple Drive,
                                        Davis, CA:
                                        3 Bedrooms: Beds ($600), Dresser ($150), Nightstands ($150);
                                        Lamps ($50); Armoire: ($400); Wall Mirror, Children's Toys ($100).
                                        2 Living Rooms: Sofa(s) ($500), Chairs ($200), End Table ($50);
                                        Coffee Table ($250); Other Tables ($300), Entertainment Center:
                                        ($200), Miscellaneous other (credenza, bookshelf, mirror, gas
                                        fireplace) ($900).
                                        Kitchen: Stove ($650), Dishwasher ($1,000), Microwave ($100),
                                        Refrigerator ($800), Tables and Chairs: ($200); Dishware ($200),
                                        Various Cookware ($750), Eating/Cooking Utensils ($350), Small
                                        Electric Appliances ($450); Miscellaneous Other (under cabinet
                                        osmosis filter, stainless over hood) ($500).
                                        Dining Room: Tables and Chairs: ($700), Chandelier ($100).
                                        Home Office: Secretariat ($100), Metal Filing Cabinet ($20).
                                        Miscellaneous Cleaning and Hair Appliances: 3 Hair blow dryers,
                                        ceramic hair iron, space heater, humidifier, Oreck vacuum cleaner,
                                        black and decker hand vacuum cleaner, 1 floor washer, 1 carpet
                                        spot cleaner, brooms, mop ($200).                                                                            $9,970.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
          No
            Yes. Describe.....

                                        Miscellaneous Electronic and Computer Equipment located at
                                        2330 Temple Drive, Davis, CA: 2 Televisions, 3 Computers, Printer,
                                        Stanmore Bluetooth Speaker, USB DVD Drive, Apple TV.                                                         $1,000.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
            No
            Yes. Describe.....

    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
         No
            Yes. Describe.....

                                        Sport, Hobby Equipment located at 2330 Temple Drive, Davis, CA:
                                        1 SLR Cannon camera, folding tripod, flash drives ($50); Camping
                                        equipment ($350);
                                        30-year-old comic books ($50); Gardening Tools ($50); Exercise
                                        equipment: Water Rower Machine, Dumbbell Weights ($1,000).
                                        Bikes: 1 Virtue Bucket Bike (2yo), 1 Breezer 3 speed bike (4yo), 1
                                        12 speed bike (5yo), I Specialized step-through bike (3yo), 1
                                        Children's REI Bike (Iyo), I Burley Bike Trailer, 1 kid's bike
                                        mounted seat, 4 adult helmets, 3 kids' helmets (Total: $1,600).
                                        Sports equipment: 1 men's rollerblades ( 1 yo), 1 women's
                                        rollerblades (3yo), 1 child roller skates (2yo), 1 Razor scooter
                                        (2yo), 1 child scooter (3yo), basketballs (old) soccer balls
                                        (nominal), Frisbees (old), football ( 15yo), 2 Tennis Rackets (old),
                                        Golf clubs: 1 set, used ($250), 1squash racquet (2yo), scuba gear
                                        (>8yo) ($350).                                                                                               $3,450.00


    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
          No

    Official Form 106A/B                                                 Schedule A/B: Property                                                           page 3
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     Debtor 1       Christopher Bradley Hay                                                        Case number (if known)   2019-25191

            Yes. Describe.....

                                        CZ 75 Compact 9mm (3yo), .17 HMR Rifle ( 3 yo ), minimal
                                        ammunition, small safe.                                                                               $800.00


    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          No
            Yes. Describe.....

                                        Clothing located at 2330 Temple Drive, Davis, CA: (1 woman, 1
                                        man, 1 toddler, 1 infant).                                                                          $1,000.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
          No
            Yes. Describe.....

                                        Jewelry: men's wedding ring; women's wedding band; 3 men's
                                        watches; miscelleanous women's jewerly.                                                             $3,300.00


    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
         No
            Yes. Describe.....

                                        1 Dog, 1 Cat                                                                                              $1.00


    14. Any other personal and household items you did not already list, including any health aids you did not list
         No
            Yes. Give specific information.....

                                        Power/Hand Tools: (HEPA Shop Vac (2yo), Dewalt Bench Planer
                                        (3yo), Skil bench top handsaw (3yo), Skil benchtop drill press
                                        (3yo), Dewalt orbital sander (3yo), Rigid Belt Sander (8yo), Rigid
                                        Router (4yo), Centech Videoscope (2yo), Dremel 3000 (3yo), Dewalt
                                        hand planer (8yo), Porter Cable Biscuit Joiner ( 3 yo ), Milwaukee
                                        18VFuel Drill and Impact Driver (4yo), Ryobi jigsaw (8yo), Weier
                                        Soldering Iron ( Iyo), TIF Combustible Gas Detector (3yo), Delta
                                        Bench Joiner (5yo), Milwaukee 18v Shop Vac (2yo), Milwaukee
                                        Dust Buster (3yo), Milwaukee Blower (3yo), Milwaukee Tool Chest
                                        (3yo), Milwaukee I8V Circular Saw(4yo), Milwaukee I8V Jigsaw
                                        (2yo), Milwaukee I 8 V MultiTool ( 2 yo ) , Milwaukee 18V Lamp
                                        (3yo), Wagner Paint Gun (2yo), Drywall Stilts, Wagner Texture Gun
                                        (2yo), Husky 20gal Air Compressor (5yo), Husky Air Chisel (3yo),
                                        Bosch Laser Leveler (8yo) Ryobi Tile Saw (2yo), Electrical Meter
                                        (3yo), Husky Area Work Light (6yo), Box Fan (3 yo); Assorted
                                        Wrenches, Hammers, Screwdrivers, Saws, Chisels, Pliers,
                                        Trowels, Drill Bits, Clamps, Measuring Tapes, Levels, Bits,
                                        Fittings, Assorted Wood Stock, 50'Gas hose, Flooring/Tile
                                        Remnants, Paint, Stains, Compounds, Hardware, Electrical Boxes
                                        and Fittings, Outlets and Switches, Romex, Pump sprayer (Total:
                                        $3,375).                                                                                            $3,375.00




    Official Form 106A/B                                                 Schedule A/B: Property                                                  page 4
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Filed 08/21/19                                                                                         Case 19-25191                                                                   Doc 9
     Debtor 1          Christopher Bradley Hay                                                                                    Case number (if known)   2019-25191


                                                Patio Furniture: Used glass table and 4 chairs and 1 chaise lounge
                                                ($300); gas lawnmower ($100); 8' folding ladder ($75); 3 piece
                                                luggage (poor condition), 1 50L duffel bag, 1 gym bag ($100); 10
                                                plastic folding chairs, 1 folding plastic table, 1 anatomical
                                                skeleton, 1 dog crate, 1 baby gate,1 baby playpen, 1 baby "pack
                                                and play", 3 carseats ($200).                                                                                               $775.00



     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                          $23,671.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
            No
            Yes................................................................................................................

    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
         No
         Yes........................                                     Institution name:
                                                                                                      Wells Fargo Bank, N.A.
                                                                                                      Account No. 1669
                                                              Wells Fargo Goal                        Names on Account: Christopher B. Hay and
                                                  17.1.       Savings                                 Jana D. Hay                                                         $1,000.02

                                                                                                      Wells Fargo Bank, N.A.
                                                                                                      Account No. 5142
                                                              Wells Fargo                             Names on Account: Christopher B. Hay and
                                                  17.2.       College Checking                        Jana D. Hay                                                         $1,822.63

                                                                                                      USAA Federal Savings Bank
                                                                                                      Account No. 0964
                                                              USAA Classic                            Names on Account: Christopher B. Hay and
                                                  17.3.       Checking                                Jana D. Hay                                                         $9,032.98

                                                                                                      USAA Federal Savings Bank
                                                                                                      Account No. 0972
                                                                                                      Names on Account: Christopher B. Hay and
                                                  17.4.       USAA Savings                            Jana D. Hay                                                         $1,525.88

                                                                                                      JPMorgan Chase Bank, N.A.
                                                                                                      Account No. 1719
                                                              Chase Business                          Names on Account: Christopher B. Hay DBA
                                                  17.5.       Classic                                 Say Hay Farms                                                         $215.01

                                                                                                      JPMorgan Chase Bank, N.A.
                                                              Chase Business                          Account No. 2936
                                                              Select High Yield                       Names on Account: Christopher B. Hay DBA
                                                  17.6.       Savings                                 Say Hay Farms                                                           $25.08

                                                                                 First Northern Bank
                                                              Classic Free       Account No. 1265
                                                              Business Checking Names on Account: Christopher Bradley Hay,
                                                  17.7.       - Business Account Say Hay Farms                                                                            $4,474.09


    Official Form 106A/B                                                                       Schedule A/B: Property                                                          page 5
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     Debtor 1         Christopher Bradley Hay                                                                         Case number (if known)   2019-25191

                                                                                    FirefightersFirst Credit Union
                                                                                    Account No. 7183
                                              17.8.    E Checking                   Names on Account: Christopher Bradley Hay                                      $0.00

                                                                                    FirefightersFirst Credit Union
                                                                                    Account No. 7174
                                              17.9.    Regular Share                Names on Account: Christopher Bradley Hay                                      $5.00

                                                                                    First Northern Bank
                                                    Money Market                    Account No. 1253
                                              17.10 (MMIA) - Business               Names on Account: Christopher Bradley Hay,
                                              .     Account                         Say Hay Farms                                                                $13.19


    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes..................                     Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                                 % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific information about them
                                        Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
         No
            Yes. List each account separately.
                                    Type of account:                                Institution name:

                                              401(k)                                Sutter Medical Group 401(k) Profit Sharing
                                                                                    Plan
                                                                                    Jana Hay
                                                                                    NetBenefits provided by Fidelity Investments
                                                                                    (Vested Balance: $25,190.50; Dividends &
                                                                                    Interest: $1,040.21)                                                    $25,190.50


                                              Pension-CalPers                       University of California Pension                                         $3,000.00


    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
            No
            Yes. .....................                                              Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):



    Official Form 106A/B                                                     Schedule A/B: Property                                                               page 6
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     Debtor 1       Christopher Bradley Hay                                                                Case number (if known)   2019-25191
    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
            No
            Yes. Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
            No
            Yes. Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
            No
            Yes. Give specific information about them...

     Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

    28. Tax refunds owed to you
          No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                             Tax Refund for 2019 Tax Year                        Federal & State                   Unknown


    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
          No
            Yes. Give specific information..

                                                          Refund due from PG&E (Acct No. 9689806415-7).                                              $470.45


    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
          No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                Beneficiary:                         Surrender or refund
                                                                                                                                       value:

                                             Life Insurance Policy
                                             15-Year Term Policy
                                             USAA Life Insurance Company
                                             9800 Fredericksburg Rd., San Antonio,
                                             TX 78288
                                             Policy No. AXXXXXXXX
                                             Name of Insured: Christopher B. Hay
                                             Policy Start Date: 4/3/2010
                                             Policy Limitation: Total Base Policy,
                                             Net death benefit: $50,000.00                        Jana D. Hay                                            $0.00




    Official Form 106A/B                                                 Schedule A/B: Property                                                         page 7
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
Filed 08/21/19                                                               Case 19-25191                                                                  Doc 9
     Debtor 1       Christopher Bradley Hay                                                             Case number (if known)   2019-25191


                                             Homeowners Insurance
                                             Policy No. CIC 01007 07 70 90A
                                             Effective: 10/5/2018 - 10/5/2019

                                             Location of Property Insured:
                                             2330 Temple Drive
                                             Davis, CA 95618-1427

                                             Policy Limits: (A) Dwelling Protection
                                             $267,000; (B) Other Structural
                                             Protection $26,700; (C) Personal
                                             Property $133,500; (D) Loss of Use
                                             $53,400; Personal Liability (each
                                             occurrence) $1,000,000; Medical
                                             Payments to Others $5,000; California
                                             Earthquake Authority, Basic
                                             Earthquake Policy: (A/B) Dwelling
                                             Protection/Extensions to Dwelling
                                             $267,000; (C) Personal Property:
                                             $25,000; (D) Loss of Use: $25,000;
                                             Other Coverages: Buildin gCode
                                             Upgrades: $20,000.

                                             Provider: USAA Casualty Insurance
                                             Company
                                             9800 Fredericksburg Road, San                        Jana D. Hay and
                                             Antonio, TX 78288                                    Christopher B. Hay                           Unknown


                                             Automobile Liability Insurance
                                             USAA Casualty Insurance Company
                                             9800 Fredericksburg Road, San
                                             Antonio, TX 78288

                                             Policy No. CIC 01007 07 70C 7104 2
                                             Effective: 1/25/2018 - 6/22/2018

                                             Name of Insured: Jana Dulava Hay and
                                             Christopher B. Hay
                                             Vehicle Insured: 2017 Chrysler Pacifica
                                             Policy Limits: (A) Liability, Bodily
                                             Injury: $20,000 each person, $40,000
                                             each accident; Property Damage:
                                             $25,000 each accident; (B) Medical
                                             Payments: $1,000 each person; (C)
                                             Uninsured Motorists: $20,000 each                    Jana D. Hay and
                                             person, $40,000 each accident.                       Christopher B. Hay                           Unknown




    Official Form 106A/B                                                 Schedule A/B: Property                                                     page 8
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
Filed 08/21/19                                                               Case 19-25191                                                                         Doc 9
     Debtor 1       Christopher Bradley Hay                                                              Case number (if known)     2019-25191


                                             Commercial Auto, Commercial General,
                                             Farm Property, Farm Liability
                                             Insurance
                                             Zenith Insurance Company
                                             21255 Califa St., Woodland Hills, CA
                                             91367

                                             Policy No. CFP 00018247-02
                                             Effective: 5/17/2018 - 5/17/2019

                                             Name of Insured: Christopher Hay
                                             Policy Limits: Commercial Auto
                                             Coverage: $3,748.00; Commercial
                                             General Liability Coverage: $1,028.00;
                                             Farm Property Coverage: $1,326.00;
                                             Farm Liability Coverage: $859.00.

                                             Producer: Wraith, Scarlett & Randolph
                                             509 Bush Street, Woodland, CA 95695                  Christopher Hay                                     Unknown


                                             Workers' Compensation Insurance
                                             Dividend 2017, 2018 Years
                                             The Zenith
                                             ZNAT Insurance Company
                                             21255 Califa Street
                                             Woodland Hills, CA 91367                             Say Hay Farms                                       Unknown


                                             University of California Insurance
                                             Accounting and Financial Services
                                             #0011
                                             Davis, CA 95616-8504
                                             Account No. 3075
                                             Effective: 2019

                                             Name of Insured: Christopher Hay
                                             Policy Limits: Medical (self + children);
                                             Dental (self + family); Vision (self +
                                             family); Legal (self + family); Basical
                                             Disability; Voluntary Disability
                                             (Short-Term, Long-Term); Basic/Core
                                             Life Insurance ($50,000); Supplemental
                                             Life Insurance ($324,000); Dependent
                                             Life (spouse / children) ($162,000 /
                                             $10,000 each); AD&D Insurance (single)
                                             ($500,000).                                          Christopher Hay                                     Unknown


    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
          No
            Yes. Describe each claim.........

    Official Form 106A/B                                                 Schedule A/B: Property                                                             page 9
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
Filed 08/21/19                                                                            Case 19-25191                                                                                        Doc 9
     Debtor 1        Christopher Bradley Hay                                                                                         Case number (if known)        2019-25191


                                                              Payment due for tentant improvments upon lease
                                                              termination.
                                                              Re: Lease with Jon Robbins and Pat Meade of real proeprty
                                                              (APNs 050-010-015 & 050-010-020)                                                                                  $108,000.00


                                                              Payment due for tentant improvments upon lease
                                                              termination.
                                                              Re: Lease with Ramon Cadena & Ramon Cadena Jr. re 17570
                                                              County Road 86, Esparto, California
                                                              Encumbered by FSA Deed of Trust recorded July 24, 2018
                                                              (Yolo Cnty. Doc. No. 17210)                                                                                        $55,917.00


    35. Any financial assets you did not already list
         No
            Yes. Give specific information..

                                                              Health Savings Account
                                                              Fidelity Investments
                                                              Brokerage No. 0058                                                                                                    $462.14


                                                              Dependent Care Flex Spending Account
                                                              WageWorks, Inc.
                                                              PO Box 224547
                                                              Dallas, TX 75222-4547                                                                                                 $277.78



     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................           $211,431.75


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.

           Yes. Go to line 38.


                                                                                                                                                                     Current value of the
                                                                                                                                                                     portion you own?
                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                     claims or exemptions.

    38. Accounts receivable or commissions you already earned
         No
            Yes. Describe.....


                                            Say Hay Farms Accounts Receivable, see attached Exhibit "1"
                                            attached hereto and incorporated by reference.                                                                                          $994.05


    39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
            No
            Yes. Describe.....


    40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
         No
            Yes. Describe.....


    Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 10
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Filed 08/21/19                                                                            Case 19-25191                                                                                        Doc 9
     Debtor 1        Christopher Bradley Hay                                                                                         Case number (if known)        2019-25191


                                            Firefighter Work Tools and Safety Equipment
                                            Safety Glasses and Case ($20.48); Headlamp, Sleep Mask, and
                                            Survival Tool ($110.53); Waterproof Matches ($8.39); Facemask
                                            Shield ($37.00); Uniform Belt and Work Gloves ($43.18); Axe Belt
                                            ($107.75); Radio Bucket, Light Strap, Rope Bag Attachment
                                            ($113.14); Rescue Tool ($55.97); SCBA mask bag ($14.99); Wallet,
                                            Pens, Voltage Tester, Window Punch ($48.45); Glove Strap ($8.57);
                                            Helmet Streamlight, Rescue Knife, Cutting Pliers, Forcible Entry
                                            Wedge, ($188.57); Duty Sunglasses ($117.88); Misc Station
                                            Bedding & Clothing ($490.26); & Leatherman Rescue Tool ($97.37)                                                                       $1,462.53


    41. Inventory
            No
            Yes. Describe.....


    42. Interests in partnerships or joint ventures
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                                                 % of ownership:


    43. Customer lists, mailing lists, or other compilations
           No.
           Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                      No
                      Yes. Describe.....


    44. Any business-related property you did not already list
            No
            Yes. Give specific information.........



     45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
         for Part 5. Write that number here.....................................................................................................................                $2,456.58

     Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.

               Yes. Go to line 47.
                                                                                                                                                                     Current value of the
                                                                                                                                                                     portion you own?
                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                     claims or exemptions.

    47. Farm animals
         Examples: Livestock, poultry, farm-raised fish
            No
            Yes................


    48. Crops—either growing or harvested
            No
            Yes. Give specific information.....




    Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 11
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Filed 08/21/19                                                                                Case 19-25191                                                                                     Doc 9
     Debtor 1         Christopher Bradley Hay                                                                                               Case number (if known)   2019-25191
    49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
            Yes................


                                            Say Hay Farms Machinery & Equipment
                                            See list of remaining farm assets attached Exhibit "2" and
                                            incorporated by reference herein.                                                                                                       $3,050.00


                                            Farm Vehicles (Ford Ranger Pickup Truck (non-opp) $500; Chevy
                                            Silverado Truck (non-opp) $500)                                                                                                         $1,000.00


                                            Finger Cultivator                                                                                                                      $11,000.00


    50. Farm and fishing supplies, chemicals, and feed
            No
            Yes................

    51. Any farm- and commercial fishing-related property you did not already list
         No
            Yes. Give specific information.....


                                             Buildings and Real Estate Improvements                                                                                      Unknown


     52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
         for Part 6. Write that number here .....................................................................................................................             $15,050.00


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................                 $570,000.00
     56. Part 2: Total vehicles, line 5                                                                          $37,383.00
     57. Part 3: Total personal and household items, line 15                                                     $23,671.00
     58. Part 4: Total financial assets, line 36                                                                $211,431.75
     59. Part 5: Total business-related property, line 45                                                         $2,456.58
     60. Part 6: Total farm- and fishing-related property, line 52                                               $15,050.00
     61. Part 7: Total other property not listed, line 54                                             +               $0.00

     62. Total personal property. Add lines 56 through 61...                                                    $289,992.33               Copy personal property total            $289,992.33

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $859,992.33




    Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 12
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Filed 08/21/19      Case 19-25191   Doc 9




                  EXHIBIT 1
                 to Schedule B
Filed 08/21/19                               Case 19-25191                                                Doc 9
                                         Say Hay Farms
                                         A/R AGING SUMMARY
                                            As of July 28, 2019


                                     CURRENT         1 - 30          31 - 60    61 - 90   91 AND      TOTAL
                                                                                           OVER
   Blue Apron                                                                             -240.00   $ -240.00
   Bolinas Peoples Market                                                                   37.50     $37.50
   Briar Patch Food Coop                                                                   -48.00    $ -48.00
   Capay Valley Farm Shop                                                                  428.40    $428.40
   Davis Food Coop                                                                         -16.00    $ -16.00
   Del Popolo                                                                             -129.00   $ -129.00
   Desco                                                                                    33.75     $33.75
   Dopo                                                                         240.00     137.00    $377.00
   Edible Pedal                                                                            180.00    $180.00
   Good Eggs                                                         -91.85     -87.00      79.45    $ -99.40
   Jules Thin Crust                                                                         36.00     $36.00
   NCAT (Western Regional Office)                                                          350.00    $350.00
   Savory Cafe                                                                             -15.95    $ -15.95
   Silo Technologies, Inc.                                                                 -25.75    $ -25.75
   Three Stone Hearth                                                           125.25       0.25    $125.50
   TOTAL                                  $0.00     $0.00          $ -91.85    $278.25    $807.65    $994.05




                                    Sunday, July 28, 2019 02:36 PM GMT-7                                 1/1
Filed 08/21/19      Case 19-25191   Doc 9




                  EXHIBIT 2
                 to Schedule B
Filed 08/21/19                                     Case 19-25191                          Doc 9


                         Say Hay Farms Miscelleanous Equipment and Supplies
       Property                             Condition              Estimated Value
       Roll top desk and chair              Fair                                $150.00
       Misc oﬃce supples                    Fair                                $100.00
       1 adjustable ikea table              Good                                $250.00
       futon/couch                          Fair                                $100.00
       large dell monitor                   Fair                                 $50.00
       pallet jack                          Fair                                $100.00
       produce boxes                        Fair                                $100.00
       totes                                Fair                                $150.00
       filing cabinets                      Fair                                $200.00
       misc chicken supplies                Poor                                 $50.00
       #223 - assorted hardware             Fair                                 $50.00
       #124 - implement                     Fair                                $100.00
       #158 - single bed mulcher            Fair                                $100.00
       #178 - vacuum seeder parts           Poor                                $100.00
       #216 - mixer and bottle jack         Fair                                 $50.00
       #270 - husky cart 21x16x27           Fair                                 $50.00
       drip tape                            Fair                                 $50.00
       market tents                         Poor                                 $50.00
       solar fence charger                  Poor                                 $50.00
       (2) roll out egg nests               Good                                $200.00
       hand rototiller                      Fair                                 $50.00
       wooden pallets                       Good                                 $50.00
       (4) 2x4 fencing, misc length         Fair                                 $50.00
       steel salvage                        Fair                                $250.00
       (4) trailer frames (from coops)      Fair                                $600.00
                                                                              $3,050.00
Filed 08/21/19                                                                  Case 19-25191                                                                              Doc 9
     Fill in this information to identify your case:

     Debtor 1                Christopher Bradley Hay
                             First Name                         Middle Name                 Last Name

     Debtor 2
     (Spouse if, filing)     First Name                         Middle Name                 Last Name

                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number           2019-25191
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

               You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          2330 Temple Drive Davis, CA 95618                              $570,000.00                              $100,000.00      C.C.P. § 704.730
          Yolo County
          Debtor's primary residence (3                                                        100% of fair market value, up to
          bedroom/2 bath residential, 1234 sq.                                                 any applicable statutory limit
          ft.).
          APN: 032-183-019-000
          Christopher B. Hay and Jana D. Hay,
          Husband and Wife as Joint Tenants
          Line from Schedule A/B: 1.1

          2017 Chrysler Pacifica 37,389 miles                             $16,288.00                                 $2,000.00     C.C.P. § 704.010
          Registered Owner: Jana Hay
          Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          2015 Dodge Ram 1500 SLT Crew Cab                                $21,095.00                                 $1,325.00     C.C.P. § 704.010
          83,867 miles
          Registered Owner: Christopher B.                                                     100% of fair market value, up to
          Hay                                                                                  any applicable statutory limit
          Line from Schedule A/B: 3.2




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
Filed 08/21/19                                                                  Case 19-25191                                                                                Doc 9
     Debtor 1    Christopher Bradley Hay                                                                     Case number (if known)     2019-25191
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Household Goods & Furnishings                                    $9,970.00                                  $9,970.00        C.C.P. § 704.020
         located at 2330 Temple Drive, Davis,
         CA:                                                                                   100% of fair market value, up to
         3 Bedrooms: Beds ($600), Dresser                                                      any applicable statutory limit
         ($150), Nightstands ($150); Lamps
         ($50); Armoire: ($400); Wall Mirror,
         Children's Toys ($100).
         2 Living Rooms: Sofa(s) ($500),
         Chairs ($200), End Tab
         Line from Schedule A/B: 6.1

         Miscellaneous Electronic and                                     $1,000.00                                  $1,000.00        C.C.P. § 704.020
         Computer Equipment located at 2330
         Temple Drive, Davis, CA: 2                                                            100% of fair market value, up to
         Televisions, 3 Computers, Printer,                                                    any applicable statutory limit
         Stanmore Bluetooth Speaker, USB
         DVD Drive, Apple TV.
         Line from Schedule A/B: 7.1

         Sport, Hobby Equipment located at                                $3,450.00                                  $3,450.00        C.C.P. § 704.020
         2330 Temple Drive, Davis, CA:
         1 SLR Cannon camera, folding                                                          100% of fair market value, up to
         tripod, flash drives ($50); Camping                                                   any applicable statutory limit
         equipment ($350);
         30-year-old comic books ($50);
         Gardening Tools ($50); Exercise
         equipment: Water Rower Machine,
         Dumbbell
         Line from Schedule A/B: 9.1

         CZ 75 Compact 9mm (3yo), .17 HMR                                    $800.00                                   $800.00        C.C.P. § 704.020
         Rifle ( 3 yo ), minimal ammunition,
         small safe.                                                                           100% of fair market value, up to
         Line from Schedule A/B: 10.1                                                          any applicable statutory limit

         Clothing located at 2330 Temple                                  $1,000.00                                  $1,000.00        C.C.P. § 704.020
         Drive, Davis, CA: (1 woman, 1 man, 1
         toddler, 1 infant).                                                                   100% of fair market value, up to
         Line from Schedule A/B: 11.1                                                          any applicable statutory limit

         Jewelry: men's wedding ring;                                     $3,300.00                                  $3,300.00        C.C.P. § 704.040
         women's wedding band; 3 men's
         watches; miscelleanous women's                                                        100% of fair market value, up to
         jewerly.                                                                              any applicable statutory limit
         Line from Schedule A/B: 12.1

         1 Dog, 1 Cat                                                           $1.00                                     $1.00       C.C.P. § 704.020
         Line from Schedule A/B: 13.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 08/21/19                                                                  Case 19-25191                                                                                Doc 9
     Debtor 1    Christopher Bradley Hay                                                                     Case number (if known)     2019-25191
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Power/Hand Tools: (HEPA Shop Vac                                 $3,375.00                                  $3,375.00        C.C.P. § 704.020
         (2yo), Dewalt Bench Planer (3yo),
         Skil bench top handsaw (3yo), Skil                                                    100% of fair market value, up to
         benchtop drill press (3yo), Dewalt                                                    any applicable statutory limit
         orbital sander (3yo), Rigid Belt
         Sander (8yo), Rigid Router (4yo),
         Centech Videoscope (2yo), Dremel
         3000 (3yo), Dewalt
         Line from Schedule A/B: 14.1

         Patio Furniture: Used glass table and                               $775.00                                   $775.00        C.C.P. § 704.020
         4 chairs and 1 chaise lounge ($300);
         gas lawnmower ($100); 8' folding                                                      100% of fair market value, up to
         ladder ($75); 3 piece luggage (poor                                                   any applicable statutory limit
         condition), 1 50L duffel bag, 1 gym
         bag ($100); 10 plastic folding chairs,
         1 folding plastic table, 1 anatomica
         Line from Schedule A/B: 14.2

         401(k): Sutter Medical Group 401(k)                             $25,190.50                                                   11 U.S.C. § 522(b)(3)(C)
         Profit Sharing Plan
         Jana Hay                                                                              100% of fair market value, up to
         NetBenefits provided by Fidelity                                                      any applicable statutory limit
         Investments
         (Vested Balance: $25,190.50;
         Dividends & Interest: $1,040.21)
         Line from Schedule A/B: 21.1

         Pension-CalPers: University of                                   $3,000.00                                                   C.C.P. § 704.110
         California Pension
         Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Firefighter Work Tools and Safety                                $1,462.53                                  $1,462.53        C.C.P. § 704.060
         Equipment
         Safety Glasses and Case ($20.48);                                                     100% of fair market value, up to
         Headlamp, Sleep Mask, and Survival                                                    any applicable statutory limit
         Tool ($110.53); Waterproof Matches
         ($8.39); Facemask Shield ($37.00);
         Uniform Belt and Work Gloves
         ($43.18); Axe Belt ($107.75); Radio
         Bucket,
         Line from Schedule A/B: 40.1


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 08/21/19                                                                    Case 19-25191                                                                                     Doc 9
     Fill in this information to identify your case:

     Debtor 1                   Christopher Bradley Hay
                                First Name                      Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                      Last Name

                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number           2019-25191
     (if known)                                                                                                                                       Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
             Affiliated Equipment
     2.1                                                                                                            $10,655.00               $11,000.00                     $0.00
             Financing                                Describe the property that secures the claim:
             Creditor's Name                          Finger Cultivator

             2491 Alluvial Avenue,
                                                      As of the date you file, the claim is: Check all that
             Suite 625                                apply.
             Clovis, CA 93611                             Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)

           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)
           community debt

     Date debt was incurred          6/14/2018                 Last 4 digits of account number        7301




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 6
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
Filed 08/21/19                                                                       Case 19-25191                                                                          Doc 9

     Debtor 1 Christopher Bradley Hay                                                                             Case number (if known)   2019-25191
                   First Name                  Middle Name                      Last Name


     2.2     Bank of Hope                               Describe the property that secures the claim:                   $454,150.55         $570,000.00             $0.00
             Creditor's Name                            2330 Temple Drive Davis, CA 95618
                                                        Yolo County
                                                        Debtor's primary residence (3
                                                        bedroom/2 bath residential, 1234 sq.
                                                        ft.).
                                                        APN: 032-183-019-000
                                                        Christopher B. Hay and Jana D. Hay,
             3200 Wilshire Blvd., Ste.                  Husband and Wife as Joint Tenants
                                                        As of the date you file, the claim is: Check all that
             500                                        apply.
             Los Angeles, CA 90010                           Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred          11/16/2018                  Last 4 digits of account number         5202

     2.3     Capital One Auto Finance                   Describe the property that secures the claim:                    $17,066.02          $16,288.00          $778.02
             Creditor's Name                            2017 Chrysler Pacifica 37,389 miles
                                                        Registered Owner: Jana Hay
                                                        As of the date you file, the claim is: Check all that
             P.O. Box 255605                            apply.
             Sacramento, CA 95865                            Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit

           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred                                      Last 4 digits of account number         8078




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 6
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Filed 08/21/19                                                                       Case 19-25191                                                                          Doc 9

     Debtor 1 Christopher Bradley Hay                                                                             Case number (if known)   2019-25191
                   First Name                  Middle Name                      Last Name


     2.4     Farm Service Agency                        Describe the property that secures the claim:                   $145,000.00          $55,917.00     $89,083.00
             Creditor's Name                            Citrus orchard estalishment and
                                                        maintenance. Promissory Note for
                                                        Subsequent Loan (Principal
                                                        $190,000, 4% per annum) for 32
             7585 S. Longe Street,                      years.
                                                        As of the date you file, the claim is: Check all that
             Suite 100                                  apply.
             Stockton, CA 95206                              Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)   Real Estate Deed of Trust for California with Assignment
           community debt                                                                          of Rents

     Date debt was incurred          7/19/2018                   Last 4 digits of account number         4406

     2.5     Farm Service Agency                        Describe the property that secures the claim:                    $73,824.00               $0.00     $73,824.00
             Creditor's Name                            Restructured operating line during
                                                        business expansion. Promissory
                                                        Note for Initial Loan (Principal
                                                        $71,000, 2.5% per annum). Loan
                                                        rescheduled 10/18/2016 (Principal
                                                        $73,824.58, 2.1250% per annum) for
             7585 S. Longe Street,                      15 years.
                                                        As of the date you file, the claim is: Check all that
             Suite 100                                  apply.
             Stockton, CA 95206                              Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred          3/4/2015                    Last 4 digits of account number         4403




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 6
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     Debtor 1 Christopher Bradley Hay                                                                             Case number (if known)   2019-25191
                   First Name                  Middle Name                      Last Name


     2.6     Farm Service Agency                        Describe the property that secures the claim:                   $228,784.99         $113,284.14    $115,500.85
             Creditor's Name                            Development of Farm Property: AG
                                                        well, packing facility, coolers.
                                                        Promissory Note for Subsequent
                                                        Loan (Principal $229,000, 2.5% per
             7585 S. Longe Street,                      annum).
                                                        As of the date you file, the claim is: Check all that
             Suite 100                                  apply.
             Stockton, CA 95206                              Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)   Real Estate Deed of Trust for California with Assignment
           community debt                                                                          of Rents

     Date debt was incurred          3/4/2015                    Last 4 digits of account number         4404

             First Northern Bank of
     2.7                                                                                                                $101,455.27           $4,487.28     $96,967.99
             Dixon                                      Describe the property that secures the claim:
             Creditor's Name                            Operation Line of Credit.
                                                        Promissory Note for Line of Credit
                                                        (Principal $100,000, variable interest
                                                        rate) - Christopher B. Hay DBA Say
                                                        Hay Farms
                                                        As of the date you file, the claim is: Check all that
             195 North First Street                     apply.
             Dixon, CA 95620                                 Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)   Promissory Note for Line of Credit - Christopher B. Hay
           community debt                                                                          DBA Say Hay Farms

     Date debt was incurred          5/10/2017                   Last 4 digits of account number         5424




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 6
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     Debtor 1 Christopher Bradley Hay                                                                             Case number (if known)        2019-25191
                   First Name                  Middle Name                      Last Name


             USAA Federal Savings
     2.8                                                                                                                 $23,608.55                 $21,095.00            $2,513.55
             Bank                                       Describe the property that secures the claim:
             Creditor's Name                            2015 Dodge Ram 1500 SLT Crew
                                                        Cab 83,867 miles
                                                        Registered Owner: Christopher B.
                                                        Hay
                                                        As of the date you file, the claim is: Check all that
             P.O. Box 25145                             apply.
             Lehigh Valley, PA 18002                         Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred                                      Last 4 digits of account number         9040

             Yolo County Tax
     2.9                                                                                                                         $0.00                      $0.00               $0.00
             Collector                                  Describe the property that secures the claim:
             Creditor's Name                            For Notice Purpose Only.

             625 Court Street,
                                                        As of the date you file, the claim is: Check all that
             Room102                                    apply.
             Woodland, CA 95776                              Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit

           Check if this claim relates to a                  Other (including a right to offset)
           community debt

                                     7/1/2018 -
     Date debt was incurred          6/30/2019                   Last 4 digits of account number         9000



       Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,054,544.38
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                                $1,054,544.38

     Part 2:     List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.

              Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
              Bank of Hope
              Mortgage Banking Division- Newport Beach                                                    Last 4 digits of account number   1396
              24 Corporate Plaza, Ste. 180
              Newport Beach, CA 92660




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 5 of 6
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     Debtor 1 Christopher Bradley Hay                                                        Case number (if known)          2019-25191
                  First Name                Middle Name                  Last Name



            Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.7
            First Northern Bank of Dixon
            Woodland Branch                                                            Last 4 digits of account number   5424
            11 W. Court Street, Ste. A
            Woodland, CA 95695

            Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.4
            U.S. Department of Agriculture
            Farm Service Agency                                                        Last 4 digits of account number   4097
            Attn: Farm Loan Programs
            430 G Street, #4161
            Davis, CA 95616-4161

            Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.5
            U.S. Department of Agriculture
            Farm Service Agency                                                        Last 4 digits of account number   4097
            Attn: Farm Loan Programs
            430 G Street, #4161
            Davis, CA 95616-4161

            Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.6
            U.S. Department of Agriculture
            Farm Service Agency                                                        Last 4 digits of account number   4097
            Attn: Farm Loan Programs
            430 G Street, #4161
            Davis, CA 95616-4161




    Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 6 of 6
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     Fill in this information to identify your case:

     Debtor 1                     Christopher Bradley Hay
                                  First Name                    Middle Name                        Last Name

     Debtor 2
     (Spouse if, filing)          First Name                    Middle Name                        Last Name

                                                            EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                DIVISION

     Case number           2019-25191
     (if known)                                                                                                                                           Check if this is an
                                                                                                                                                          amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
               No. Go to Part 2.

               Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim      Priority              Nonpriority
                                                                                                                                             amount                amount
                  California Department of Tax and
     2.1          Fee                                                    Last 4 digits of account number                          Unknown                 $0.00                 $0.00
                  Priority Creditor's Name
                  Administration                                         When was the debt incurred?
                  Special Operations Bankr. Team
                  MIC: 74
                  P.O. Box 942879
                  Sacramento, CA 94279-0074
                  Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                  Debtor 1 only                                             Unliquidated
                  Debtor 2 only                                             Disputed
                  Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

                  At least one of the debtors and another                   Domestic support obligations

                  Check if this claim is for a community debt               Taxes and certain other debts you owe the government
            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
                  No                                                        Other. Specify
                  Yes                                                                        For Notice Purpose Only.




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 17
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Filed 08/21/19                                                                       Case 19-25191                                                                                          Doc 9
     Debtor 1 Christopher Bradley Hay                                                                          Case number (if known)            2019-25191

     2.2        Franchise Tax Board                                      Last 4 digits of account number                         Unknown                      $0.00                  $0.00
                Priority Creditor's Name
                Bankruptcy Section, MS A-340                             When was the debt incurred?
                P.O. Box 2952
                Sacramento, CA 95812
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                Debtor 1 only                                               Unliquidated
                Debtor 2 only                                               Disputed
                Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

                At least one of the debtors and another                     Domestic support obligations

                Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
                No                                                          Other. Specify
                Yes                                                                          For Notice Purpose Only.

     2.3        Internal Revenue Service                                 Last 4 digits of account number                               $0.00                  $0.00                  $0.00
                Priority Creditor's Name
                P.O. Box 7346                                            When was the debt incurred?         2016-2019
                Philadelphia, PA 19101
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                Debtor 1 only                                               Unliquidated
                Debtor 2 only                                               Disputed
                Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

                At least one of the debtors and another                     Domestic support obligations

                Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
                No                                                          Other. Specify
                Yes                                                                          For Notice Purpose Only.


     Part 2:       List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

              No. You have nothing to report in this part. Submit this form to the court with your other schedules.

              Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 17
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Filed 08/21/19                                                                    Case 19-25191                                                                               Doc 9
     Debtor 1 Christopher Bradley Hay                                                                        Case number (if known)         2019-25191

     4.1      Agricultural Institute of Marin                            Last 4 digits of account number                                                        $1,010.00
              Nonpriority Creditor's Name
              400 Smith Ranch Road, Suite D                              When was the debt incurred?           6/13/2019
              San Rafael, CA 94903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Trade Debt


     4.2      Agriform                                                   Last 4 digits of account number                                                            $40.98
              Nonpriority Creditor's Name
              201 East Street                                            When was the debt incurred?           7/31/2018
              Woodland, CA 95776
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Trade Debt


     4.3      Agriform - Retail                                          Last 4 digits of account number                                                              $4.18
              Nonpriority Creditor's Name
              201 East Street                                            When was the debt incurred?           4/30/2018
              Woodland, CA 95776
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Trade Debt




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 17
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Filed 08/21/19                                                                    Case 19-25191                                                                               Doc 9
     Debtor 1 Christopher Bradley Hay                                                                        Case number (if known)         2019-25191

     4.4      Brian Bilek                                                Last 4 digits of account number                                                           $144.00
              Nonpriority Creditor's Name
              6895 Exeter Drive                                          When was the debt incurred?
              Oakland, CA 94611
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check


     4.5      Capay Valley Farm Shop                                     Last 4 digits of account number                                                        $2,017.35
              Nonpriority Creditor's Name
              PO Box 581                                                 When was the debt incurred?
              Esparto, CA 95627
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Trade Debt


              CCOF, Inc. - Certification Services,
     4.6      LLC                                                        Last 4 digits of account number                                                           $565.85
              Nonpriority Creditor's Name
              2155 Delaware Avenue                                       When was the debt incurred?           5/31/2018-5/31-2019
              Suite 150
              Santa Cruz, CA 95060
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Trade Debt




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 17
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Filed 08/21/19                                                                    Case 19-25191                                                                               Doc 9
     Debtor 1 Christopher Bradley Hay                                                                        Case number (if known)         2019-25191

     4.7      Chase                                                      Last 4 digits of account number       0696                                             $1,449.97
              Nonpriority Creditor's Name
              P.O. Box 15298                                             When was the debt incurred?           05/2006 - 7/27/2019
              Wilmington, DE 19850
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Revolving, Credit Card
                                                                                             Farm Debt
                  Yes                                                       Other. Specify   Christopher Hay


     4.8      Chase Ink                                                  Last 4 digits of account number       8754                                           $19,758.70
              Nonpriority Creditor's Name
              P.O. Box 15298                                             When was the debt incurred?           11/21/2018
              Wilmington, DE 19850-5298
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Chase Ultimate Rewards Credit Card
                  Yes                                                       Other. Specify   Christopher B. Hay, Say Hay Farms


     4.9      Durham Pump                                                Last 4 digits of account number                                                      $13,982.12
              Nonpriority Creditor's Name
              202 Kentucky Avenue                                        When was the debt incurred?           July 2015
              Woodland, CA 95695
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Agricultural Well Services




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 17
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     4.1
     0        Eco-Nutrients LLC                                          Last 4 digits of account number       8087                                                $825.00
              Nonpriority Creditor's Name
              P.O. Box 2026                                              When was the debt incurred?           9/20/2018
              Crescent City, CA 95531
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                                                                                             Fertilizer ($675.00); Outstanding Check
                  Yes                                                       Other. Specify   ($150.00)


     4.1
     1        Ellen Drewes                                               Last 4 digits of account number                                                            $88.00
              Nonpriority Creditor's Name
              561 Baker #1                                               When was the debt incurred?
              San Francisco, CA 94117
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check


     4.1
     2        Erin Davi                                                  Last 4 digits of account number                                                            $81.00
              Nonpriority Creditor's Name
              549 Silver Drive                                           When was the debt incurred?
              Vacaville, CA 95687
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check




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     4.1
     3        Headstart Nursery                                          Last 4 digits of account number       0815                                           $18,828.05
              Nonpriority Creditor's Name
              4860 Monterey Road                                         When was the debt incurred?           3/31/18 - 8/31/2018
              Gilroy, CA 95020
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                  Yes                                                       Other. Specify   Transplants


     4.1
     4        Heather Cunningham                                         Last 4 digits of account number                                                            $92.04
              Nonpriority Creditor's Name
              950 37th Street                                            When was the debt incurred?
              Richmond, CA 94805
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check


     4.1
     5        Hilleby International                                      Last 4 digits of account number                                                      $15,156.38
              Nonpriority Creditor's Name
              38964 Kentucky Avenue                                      When was the debt incurred?           2014 - Current
              Woodland, CA 95695
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                  Yes                                                       Other. Specify   Various Tractor Parts and Tools




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     4.1
     6        ICW Group                                                  Last 4 digits of account number       2701                                             $1,349.12
              Nonpriority Creditor's Name
              P.O. Box 509039                                            When was the debt incurred?           7/29/2019
              San Diego, CA 92150-9039
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Insurance Installment (period of
                  Yes                                                       Other. Specify   7/23/2019-8/22/2019)


     4.1
     7        ICW Group                                                  Last 4 digits of account number       2700                                             $5,017.00
              Nonpriority Creditor's Name
              P.O. Box 509039                                            When was the debt incurred?           4/23/2019
              San Diego, CA 92150-9039
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Insurance Premiums and Premium Audits
                  Yes                                                       Other. Specify   (Workers' Compensation)


     4.1
     8        J&J Truck Repair                                           Last 4 digits of account number       1050                                             $1,057.45
              Nonpriority Creditor's Name
              1540 Case Place                                            When was the debt incurred?           9/2018
              Woodland, CA 95776
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                  Yes                                                       Other. Specify   Box Truck Services




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     4.1
     9        Jack Cady                                                  Last 4 digits of account number                                                           $496.99
              Nonpriority Creditor's Name
              2503 Oakenshield Road                                      When was the debt incurred?
              Davis, CA 95616
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check


     4.2
     0        Johnny's Selected Seeds                                    Last 4 digits of account number       7016                                             $9,505.06
              Nonpriority Creditor's Name
              955 Benton Avenue                                          When was the debt incurred?           6/30/2017 - 4/30/2018
              Winslow, ME 04901
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent

                  Debtor 2 only                                             Unliquidated

                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                  Yes                                                       Other. Specify   Seeds and Supplies


     4.2
     1        Jon Robbins and Pat Meade                                  Last 4 digits of account number                                                        $6,000.00
              Nonpriority Creditor's Name
              19182 County Road 87B                                      When was the debt incurred?           6/1/2018 - Current
              Esparto, CA 95627
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Rent re Parcel Nos. 050-010-020 and
                                                                                             050-010-015; $400/month for barn and
                  Yes                                                       Other. Specify   offices.




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     4.2
     2        Michelle Gilkey                                            Last 4 digits of account number                                                              $4.00
              Nonpriority Creditor's Name
              616 U Street                                               When was the debt incurred?
              Sacramento, CA 95818
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check


     4.2
     3        Mika Shibuya                                               Last 4 digits of account number                                                        $2,355.82
              Nonpriority Creditor's Name
              41 Kaye Road                                               When was the debt incurred?
              Millerton, NY 12546
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check


     4.2
     4        Modesto Milling Organic Feed                               Last 4 digits of account number       HAYCHRIS                                       $26,520.88
              Nonpriority Creditor's Name
              P.O. Box A 142                                             When was the debt incurred?           11/16/2018 - 2/5/2019
              Empire, CA 95319
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                  Yes                                                       Other. Specify   Feed




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     4.2
     5        Oakland Packaging & Supply                                 Last 4 digits of account number       3474                                             $2,475.27
              Nonpriority Creditor's Name
              aka Cogent Solutions & Supplies                            When was the debt incurred?           10/8/2018 - 2/1/2019
              3200 Regatta Blvd., Ste. F
              Richmond, CA 94804
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                  Yes                                                       Other. Specify   Packing Supplies


     4.2
     6        PG&E                                                       Last 4 digits of account number       4157                                             Unknown
              Nonpriority Creditor's Name
              P.O. Box 997300                                            When was the debt incurred?           2019
              Sacramento, CA 95889
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Name on Account: Jonathan Robbins
                                                                                             [Landlord]
                  Yes                                                       Other. Specify   For Notice Purpose Only.


     4.2
     7        Rachel Wein                                                Last 4 digits of account number                                                            $55.00
              Nonpriority Creditor's Name
              1525 Parker Street                                         When was the debt incurred?
              Berkeley, CA 94703
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check




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     4.2
     8        Sarah Ann B. Hay                                           Last 4 digits of account number                                                      $25,000.00
              Nonpriority Creditor's Name
              19182 Country Road 87B                                     When was the debt incurred?           11/10/2010
              Esparto, CA 95627
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Business startup loan. Promissory Note
                                                                                             (Principal $25,000.00, interest yearly rate of
                  Yes                                                       Other. Specify   3.75%).


     4.2
     9        Sarah Ann B. Hay                                           Last 4 digits of account number                                                     $199,676.20
              Nonpriority Creditor's Name
              19182 Country Road 87B                                     When was the debt incurred?           6/2/2019
              Esparto, CA 95627
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Advances for Say Hay Farms to be
                  Yes                                                       Other. Specify   Reimbursed by Debtor


     4.3
     0        Sarah DeNichola                                            Last 4 digits of account number                                                           $191.84
              Nonpriority Creditor's Name
              3822 Bloomfield Road                                       When was the debt incurred?
              Sebastopol, CA 95472
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Employee Wages; Outstanding Check




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     4.3
     1        U.S. Dept. of Agriculture                                  Last 4 digits of account number       53V0                                             Unknown
              Nonpriority Creditor's Name
              Natural Resources Conservation                             When was the debt incurred?
              Service
              430 G Street, Suite 4164
              Davis, CA 95616
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent

                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Breach of Conservation Program Contract


     4.3
     2        United Site Services                                       Last 4 digits of account number                                                           $994.88
              Nonpriority Creditor's Name
              P.O. 53267                                                 When was the debt incurred?           6/28/2018 - 1/10/2019
              Phoenix, AZ 85072
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                  Yes                                                       Other. Specify   Portable Toilet Services


     4.3
     3        USAA Auto and Property Insurance                           Last 4 digits of account number       0770                                                $702.65
              Nonpriority Creditor's Name
              10750 McDermott Fwy                                        When was the debt incurred?           7/1/2019
              San Antonio, TX 78288
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Auto Policy - Ram Chrysler
                  Yes                                                       Other. Specify   Christopher B. Hay




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     4.3
     4        USAA Credit Card Services                                  Last 4 digits of account number       5560                                           $13,366.73
              Nonpriority Creditor's Name
              10750 McDermott Fwy                                        When was the debt incurred?           4/2005 - 7/2/2019
              San Antonio, TX 78288
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Revolving, Credit Card
                  Yes                                                       Other. Specify   Christopher B. Hay


     4.3
     5        Valley Truck & Tractor                                     Last 4 digits of account number                                                              $7.56
              Nonpriority Creditor's Name
              1549 Colusa Highway                                        When was the debt incurred?
              Yuba City, CA 95993
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Trade Debt


     4.3
     6        Wells Fargo Card Services                                  Last 4 digits of account number       5928                                             $6,865.37
              Nonpriority Creditor's Name
              P.O. Box 51193                                             When was the debt incurred?           2/2002 - 5/3/2019
              Los Angeles, CA 90051-5493
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Visa Revolving, Credit Card
                  Yes                                                       Other. Specify   Christopher B. Hay




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 17
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Filed 08/21/19                                                                    Case 19-25191                                                                               Doc 9
     Debtor 1 Christopher Bradley Hay                                                                        Case number (if known)         2019-25191

     4.3
     7        Westside Spreading LLC                                     Last 4 digits of account number       2798                                           $21,742.24
              Nonpriority Creditor's Name
              P.O. Box 42                                                When was the debt incurred?           10/13/16 - 4/1/18
              Colusa, CA 95932
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Trade Debt
                  Yes                                                       Other. Specify   Compost and Fertilizer/ Trucking


     4.3      Willard Caldwell Hay & Lyn Anne
     8        Hay                                                        Last 4 digits of account number                                                      $62,000.00
              Nonpriority Creditor's Name
              663 Second Street                                          When was the debt incurred?           10/4/2015
              Sonoma, CA 95476
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Personal Loan (down payment loan for
                                                                                             home purchase). Promissory Note,
                  Yes                                                       Other. Specify   principal $84,000, 4% interest per annum.


     4.3      Willard Caldwell Hay & Lyn Anne
     9        Hay                                                        Last 4 digits of account number                                                      $14,000.00
              Nonpriority Creditor's Name
              663 Second Street                                          When was the debt incurred?           2/1/2014
              Sonoma, CA 95476
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Say Hay Farms Business Loan. Promissory
                                                                                             Note, principal $55,000, 4% interest per
                  Yes                                                       Other. Specify   annum.




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 17
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Filed 08/21/19                                                                    Case 19-25191                                                                                       Doc 9
     Debtor 1 Christopher Bradley Hay                                                                        Case number (if known)          2019-25191

     4.4
     0         Zenith Insurance Company                                  Last 4 digits of account number       4703                                                     $3,356.20
               Nonpriority Creditor's Name
               21255 Califa St.                                          When was the debt incurred?           8/13/2019
               Woodland Hills, CA 91367-5021
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Payment re Workers' Compensation Policy
                                                                                             Premium; Workers' Compensation Policy
                  Yes                                                       Other. Specify   Audits


     4.4
     1         Zenith Insurance Company                                  Last 4 digits of account number       4703                                                     $4,313.40
               Nonpriority Creditor's Name
               Agribusiness Solutions                                    When was the debt incurred?           6/14/2019
               21255 Califa Street
               Woodland Hills, CA 91367
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Farm Liability Insurance

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Johnny's Selected Seed                                        Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     c/o Altus GTS Inc.                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
     Attn: Jennifer Alexander
     2400 Veterans Memorial Blvd., Ste.
     300
     Kenner, LA 70062
                                                                   Last 4 digits of account number                  5164

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     U.S. Dept. of Agriculture                                     Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     Natural Resources Conservation                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
     Service
     221 W. Court Street, Suite 1
     Woodland, CA 95695
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Zenith Insurance Company                                      Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 16 of 17
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Filed 08/21/19                                                                   Case 19-25191                                                                                       Doc 9
     Debtor 1 Christopher Bradley Hay                                                                       Case number (if known)        2019-25191

     P.O. Box 742575                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
     Los Angeles, CA 90074-2575
                                                                   Last 4 digits of account number


     Part 4:       Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                 Total Claim
                            6a.   Domestic support obligations                                                6a.      $                           0.00
     Total
     claims
     from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.      $                           0.00
                            6c.   Claims for death or personal injury while you were intoxicated              6c.      $                           0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                           0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                           0.00

                                                                                                                                 Total Claim
                            6f.   Student loans                                                               6f.      $                           0.00
     Total
     claims
     from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                       6g.      $                           0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                           0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                                  here.                                                                                $                  481,097.28

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                  481,097.28




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 17 of 17
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
Filed 08/21/19                                                                  Case 19-25191                                                                           Doc 9
     Fill in this information to identify your case:

     Debtor 1                  Christopher Bradley Hay
                               First Name                         Middle Name            Last Name

     Debtor 2
     (Spouse if, filing)       First Name                         Middle Name            Last Name

                                                           EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:               DIVISION

     Case number           2019-25191
     (if known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


               Person or company with whom you have the contract or lease                   State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code

         2.1       Citizens One Financing                                                     2 Year customer agreement for iPhone Purchase
                   c/o Citizens Bank                                                          commencing January, 2018; $56.16 monthly payment,
                   One Citizens Plaza                                                         $280.96 outstanding.
                   Providence, RI 02903

         2.2       Jon Robbins and Pat Meade                                                  Farm and Residential Lease Agreement ("Agreement"),
                   19182 County Road 87B                                                      dated January 1, 2015, between Pat Meade and Jon
                   Esparto, CA 95627                                                          Robbins ("Landlord"), individuals, and Christopher Hay
                                                                                              ("Tenant"), for the property located in Yolo County,
                                                                                              California comprising approximately 36 acres, and a 3
                                                                                              bedroom/2 bathroom house (Parcel Nos. 050-010-020 and
                                                                                              050-010-015); $700.00 per month until June 1, 2016,
                                                                                              $1,800.00 beginning January 1, 2017, and $3,000.00
                                                                                              annually beginning January 1, 2018.

         2.3       Ramon Cadena and Ramon Cadena, Jr.                                         First Amendment to Lease entered into June 12, 2018,
                   17570 County Road 86                                                       between Ramon Cadena and Ramon Cadena, Jr.
                   Esparto, CA 95627                                                          ("Landlord"), an individual and Christopher Hay
                                                                                              ("Tenant") for the property located at 17570 County Road
                                                                                              86 Esparto, CA 95627; $3,375 for use of the Property
                                                                                              annually for 34 years, starting January 1, 2015 and
                                                                                              ending December 31, 2049. Consent to Assign and
                                                                                              Encumber Leasehold entered into with the FSA on or
                                                                                              about July 19, 2018.




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Filed 08/21/19                                                                         Case 19-25191                                                                    Doc 9
     Fill in this information to identify your case:

     Debtor 1                     Christopher Bradley Hay
                                  First Name                          Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)          First Name                          Middle Name             Last Name

                                                               EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                   DIVISION

     Case number             2019-25191
     (if known)                                                                                                                              Check if this is an
                                                                                                                                             amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                           No
                           Yes.


                             In which community state or territory did you live?              California      . Fill in the name and current address of that person.
                             Jana Dulava Hay
                             2330 Temple Drive
                             Davis, CA 95618-1427
                             Name of your spouse, former spouse, or legal equivalent
                             Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:


        3.1         Jana Dulava Hay                                                                             Schedule D, line
                    2330 Temple Drive                                                                           Schedule E/F, line   4.38
                    Davis, CA 95618-1427
                                                                                                                Schedule G
                                                                                                              Willard Caldwell Hay & Lyn Anne Hay



        3.2         Jana Dulava Hay                                                                             Schedule D, line   2.3
                    2330 Temple Drive                                                                           Schedule E/F, line
                    Davis, CA 95618-1427
                                                                                                                Schedule G
                                                                                                              Capital One Auto Finance




    Official Form 106H                                                                    Schedule H: Your Codebtors                                      Page 1 of 2
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Filed 08/21/19                                                           Case 19-25191                                                              Doc 9

     Debtor 1 Christopher Bradley Hay                                                      Case number (if known)   2019-25191


                Additional Page to List More Codebtors
                 Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
        3.3      Jana Dulava Hay                                                                  Schedule D, line   2.2
                 2330 Temple Drive                                                                Schedule E/F, line
                 Davis, CA 95618-1427
                                                                                                  Schedule G
                                                                                                Bank of Hope



        3.4      Jana Dulava Hay                                                                  Schedule D, line   2.9
                 2330 Temple Drive                                                                Schedule E/F, line
                 Davis, CA 95618-1427
                                                                                                  Schedule G
                                                                                                Yolo County Tax Collector




    Official Form 106H                                                      Schedule H: Your Codebtors                                Page 2 of 2
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Filed 08/21/19                                                         Case 19-25191                                                                          Doc 9



     Fill in this information to identify your case:

     Debtor 1                      Christopher Bradley Hay

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA,
                                                   SACRAMENTO DIVISION

     Case number               2019-25191                                                                   Check if this is:
     (If known)
                                                                                                                An amended filing
                                                                                                                A supplement showing postpetition chapter
                                                                                                                13 income as of the following date:

     Official Form 106I                                                                                         MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                           12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                   Employed
            attach a separate page with           Employment status*
            information about additional                                   Not employed                               Not employed
            employers.
                                                  Occupation            Farmer                                     Family Physician
            Include part-time, seasonal, or
            self-employed work.                   Employer's name       Say Hay Farms                              Sutter Medical Group, a CA corp.

            Occupation may include student        Employer's address
                                                                        19182 Country Road 87B                     2800 L Street, 7th Floor
            or homemaker, if it applies.
                                                                        Esparto, CA 95627                          Sacramento, CA 95816

                                                  How long employed there?         8 Years, 7 Months
                                                                                   *See Attachment for Additional Employment Information

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $         6,354.40        $         9,544.92

     3.     Estimate and list monthly overtime pay.                                             3.   +$              0.00       +$            0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      6,354.40               $   9,544.92




    Official Form 106I                                                       Schedule I: Your Income                                                 page 1
Filed 08/21/19                                                       Case 19-25191                                                                                 Doc 9


     Debtor 1   Christopher Bradley Hay                                                               Case number (if known)    2019-25191


                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                non-filing spouse
          Copy line 4 here                                                                     4.         $       6,354.40      $         9,544.92

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                  5a.        $         330.44      $        3,225.09
          5b.   Mandatory contributions for retirement plans                                   5b.        $         530.73      $            0.00
          5c.   Voluntary contributions for retirement plans                                   5c.        $           0.00      $            0.00
          5d.   Required repayments of retirement fund loans                                   5d.        $           0.00      $            0.00
          5e.   Insurance                                                                      5e.        $         190.91      $          856.77
          5f.   Domestic support obligations                                                   5f.        $           0.00      $            0.00
          5g.   Union dues                                                                     5g.        $           0.00      $            0.00
          5h.   Other deductions. Specify: DEPCARE FSA                                         5h.+       $         601.86 +    $            0.00
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $           1,653.94      $        4,081.86
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $           4,700.46      $        5,463.06
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $       -5,992.21     $                0.00
          8b. Interest and dividends                                                           8b.        $            0.00     $                0.00
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $              0.00   $                0.00
          8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
          8e. Social Security                                                                  8e.        $              0.00   $                0.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                    0.00   $                0.00
          8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
          8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $           -5,992.21     $                 0.00

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $              -1,291.75 + $      5,463.06 = $            4,171.31
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                    0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                      12.    $           4,171.31
                                                                                                                                             Combined
                                                                                                                                             monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain: Wife's income can vary with performace bonus.




    Official Form 106I                                                      Schedule I: Your Income                                                       page 2
Filed 08/21/19                                        Case 19-25191                                                          Doc 9


     Debtor 1   Christopher Bradley Hay                                       Case number (if known)   2019-25191


                                                     Official Form B 6I
                                     Attachment for Additional Employment Information

     Debtor
     Occupation            Firefighter
     Name of Employer      UC Davis Fire Department
     How long employed     7 Months
     Address of Employer   One Shields Avenue
                           Davis, CA 95616




    Official Form 106I                                   Schedule I: Your Income                                    page 3
Filed 08/21/19      Case 19-25191   Doc 9




                  EXHIBIT 3
                 to Schedule I
Filed 08/21/19                             Case 19-25191                               Doc 9
                                      Say Hay Farms
                                       PROFIT AND LOSS
                                     January 1 - August 21, 2019


                                                                             TOTAL
                 Income
                  CSA                                                       2,271.50
                  Eggs                                                  88,834.25
                  Farmers Market Sales                                      2,342.18
                  Interest income                                              1.53
                  Produce                                               14,250.21
                  Sales of Product Income                                   1,765.13
                  Unapplied Cash Payment Income                              218.65
                  Uncategorized Income                                      2,245.62
                 Total Income                                         $111,929.07
                 GROSS PROFIT                                         $111,929.07
                 Expenses
                  Advertising and Promotion                                  216.00
                  Animal Bedding & Cleaning Suppl                             52.10
                  Bank Service Charges                                       167.79
                  Car and Truck Expenses                                     110.00
                   Isuzu                                                      22.00
                   RAM                                                       534.00
                  Total Car and Truck Expenses                               666.00
                  CHICKENS
                   BEDDING                                                   895.67
                   CARTONS                                                  2,149.45
                   FEED                                                 13,601.22
                   SUPPLIES/REPAIRS                                          566.68
                  Total CHICKENS                                        17,213.02
                  Computer and Internet Expenses                            1,488.09
                  CROPS
                   SEEDS AND PLANTS                                          364.00
                   TRACTOR FUEL                                              493.63
                  Total CROPS                                                857.63
                  CSA Expenses                                               159.50
                  CSA/WHOLESALE
                   BRIDGE TOLLS                                              480.00
                   DELIVERY FUEL                                             126.62
                  Total CSA/WHOLESALE                                        606.62
                  Custom Hire and Contract Labor                            4,710.00
                  Dues and Memberships                                       402.10
                  Fertilizers and Compost                                   1,000.00
                  Gasoline, Fuel and Oil                                     158.40
                   Farm Fuel                                                 479.02
                   Isuzu                                                      78.53
                   Market/Delivery                                           404.22
                   RAM                                                       170.60



                     Cash Basis Wednesday, August 21, 2019 03:44 PM GMT-7              1/2
Filed 08/21/19                          Case 19-25191                                    Doc 9
                                                                               TOTAL
                  Total Gasoline, Fuel and Oil                               1,290.77
                  Insurance Expense                                          -1,192.35
                   Business Liability                                        2,858.78
                   Workers' Comp                                               589.19
                  Total Insurance Expense                                    2,255.62
                  Interest Expense                                           3,397.36
                   CREDIT CARD INTEREST                                      4,256.90
                  Total Interest Expense                                     7,654.26
                  Land Lease                                                 3,187.50
                  MARKETS
                   AIM CIVIC CENTER - Stall Fee                                707.00
                   AIM STALL FEE - GRAND LAKE                                1,007.00
                  Total MARKETS                                              1,714.00
                  Meeting Expense                                               28.78
                  Miscellaneous Expense                                      3,960.50
                  Office Supplies                                              302.72
                  ORCHARD                                                    3,910.00
                   IRRIGATION                                                  560.68
                  Total ORCHARD                                              4,470.68
                  Packaging                                                    194.98
                  Payroll Expenses
                   Taxes                                                     5,245.32
                   Wages                                                 52,513.92
                  Total Payroll Expenses                                 57,759.24
                  Professional Fees                                      30,940.95
                  Reimbursements                                             3,759.09
                  Repairs and Maintenance                                      448.03
                  Small Tools and Equipment                                  1,994.53
                  Unapplied Cash Bill Payment Expense                            0.00
                  Uncategorized Expense                                        898.22
                  Utilities                                                  8,271.95
                   Toilets                                                     200.00
                  Total Utilities                                            8,471.95
                 Total Expenses                                        $156,870.67
                 NET OPERATING INCOME                                  $ -44,941.60
                 NET INCOME                                            $ -44,941.60




                      Cash Basis Wednesday, August 21, 2019 03:44 PM GMT-7               2/2
Filed 08/21/19                                                               Case 19-25191                                                                         Doc 9



      Fill in this information to identify your case:

      Debtor 1                 Christopher Bradley Hay                                                           Check if this is:
                                                                                                                     An amended filing
      Debtor 2                                                                                                       A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA,                                            MM / DD / YYYY
                                                SACRAMENTO DIVISION

      Case number           2019-25191
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                               12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.
                                                         Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

            Do not state the                                                                                                                      No
            dependents names.                                                            Daughter                             5 Months            Yes
                                                                                                                                                  No
                                                                                         Daughter                             3 Years             Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                            2,138.57

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                           453.33
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            53.16
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           200.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00



      Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
Filed 08/21/19                                                             Case 19-25191                                                                                     Doc 9


      Debtor 1     Christopher Bradley Hay                                                                   Case number (if known)      2019-25191

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                                     6a.   $                              250.00
            6b. Water, sewer, garbage collection                                                                   6b.   $                              200.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                              240.00
            6d. Other. Specify: Internet, Cable                                                                    6d.   $                               98.00
                   Cloud Services (Backups, Security)                                                                    $                               25.00
      7.    Food and housekeeping supplies                                                           7.                  $                            1,835.00
      8.    Childcare and children’s education costs                                                 8.                  $                            1,566.00
      9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               50.00
      10.   Personal care products and services                                                    10.                   $                              600.00
      11.   Medical and dental expenses                                                            11.                   $                               20.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                 500.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  35.00
      14.   Charitable contributions and religious donations                                       14. $                                                   0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                   15.00
            15b. Health insurance                                                                15b. $                                                  200.00
            15c. Vehicle insurance                                                               15c. $                                                  175.00
            15d. Other insurance. Specify:                                                       15d. $                                                    0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                               16. $                                                    0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                  684.49
            17b. Car payments for Vehicle 2                                                      17b. $                                                  340.23
            17c. Other. Specify:                                                                 17c. $                                                    0.00
            17d. Other. Specify:                                                                 17d. $                                                    0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                    0.00
            20b. Real estate taxes                                                               20b. $                                                    0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
      21.   Other: Specify:    Veterinary Expenses, Medicine                                       21. +$                                                 20.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                       $                     9,698.78
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     9,698.78
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,171.31
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              9,698.78

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                             -5,527.47

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here: Budget figures include expenses for non-filing spouse and depedents.
                                Wife's Student Loans paymetns start March 2020, estimated monthly payment of $1,438 per month.




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 08/21/19                                                                Case 19-25191                                                                             Doc 9




     Fill in this information to identify your case:

     Debtor 1                    Christopher Bradley Hay
                                 First Name                     Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)         First Name                     Middle Name             Last Name

                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number              2019-25191
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Christopher Bradley Hay                                               X
                  Christopher Bradley Hay                                                   Signature of Debtor 2
                  Signature of Debtor 1

                  Date       August 21, 2019                                                Date




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Filed 08/21/19                                                                  Case 19-25191                                                                               Doc 9



     Fill in this information to identify your case:

     Debtor 1                  Christopher Bradley Hay
                               First Name                       Middle Name                  Last Name

     Debtor 2
     (Spouse if, filing)       First Name                       Middle Name                  Last Name

                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number           2019-25191
     (if known)                                                                                                                                  Check if this is an
                                                                                                                                                 amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                   Married
                   Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                   No
                   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                    lived there                                                                      lived there

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                   No
                   Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income             Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                        exclusions)                                                  and exclusions)

     From January 1 of current year until                 Wages, commissions,                       $33,727.20            Wages, commissions,                $66,814.42
     the date you filed for bankruptcy:
                                                       bonuses, tips                                                   bonuses, tips

                                                           Operating a business                                           Operating a business




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Filed 08/21/19                                                                  Case 19-25191                                                                          Doc 9
     Debtor 1      Christopher Bradley Hay                                                                     Case number (if known)   2019-25191


                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income         Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                        exclusions)                                              and exclusions)

                                                         Wages, commissions,                       $111,929.07           Wages, commissions,
                                                       bonuses, tips                                                   bonuses, tips

                                                           Operating a business                                           Operating a business


     For last calendar year:                             Wages, commissions,                       $651,342.00            Wages, commissions,          $90,930.00
     (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips
                                                           Operating a business                                           Operating a business

     For the calendar year before that:                  Wages, commissions,                       $564,465.00            Wages, commissions,         $126,456.00
     (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips
                                                           Operating a business                                           Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income         Gross income
                                                       Describe below.                  each source                    Describe below.           (before deductions
                                                                                        (before deductions and                                   and exclusions)
                                                                                        exclusions)
     From January 1 of current year until Workers’                                                    $1,442.35
     the date you filed for bankruptcy:   Compensation
                                                       Insurance Dividend
                                                       (2/5/2019) (Say Hay
                                                       Farms)


     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
                No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                        individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                             No.       Go to line 7.
                             Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                             No.       Go to line 7.
                             Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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     Debtor 1      Christopher Bradley Hay                                                                     Case number (if known)   2019-25191


           Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe
           Bank of America, N.A.                                    6/3/2019                      $11,347.11             $1,201.06        Mortgage
           100 North Tryon St.                                      ($5,942.71);                                                          Car
           Charlotte, NC 28202                                      6/25/2019
                                                                                                                                          Credit Card
                                                                    ($2,119.53);
                                                                                                                                          Loan Repayment
                                                                    7/26/2019
                                                                    ($3,284.87);                                                          Suppliers or vendors
                                                                                                                                          Other


           Bank of Hope                                             5/15/2019                       $8,404.20         $454,150.55         Mortgage
           3200 Wilshire Boulevard, Suite                           ($2,801.40);                                                          Car
           1400                                                     6/15/2019
                                                                                                                                          Credit Card
           Los Angeles, CA 90010                                    (2,801.40);
                                                                                                                                          Loan Repayment
                                                                    7/15/2019
                                                                    ($2,801.40)                                                           Suppliers or vendors
                                                                                                                                          Other


           West Auctions, Inc.                                      8/12/2019                     $10,400.52                  $0.00       Mortgage
           P.O. Box 278                                                                                                                   Car
           Woodland, CA 95776                                                                                                             Credit Card
                                                                                                                                          Loan Repayment
                                                                                                                                          Suppliers or vendors
                                                                                                                                           Other Auctioneer's Fee
                                                                                                                                        for 7/23/2019-7/25/2019
                                                                                                                                        Auction

           USDA - Farm Service Agency                               8/12/2019                     $83,241.77          $447,608.99         Mortgage
           7585 S. Longe Street, Suite 100                                                                                                Car
           Stockton, CA 95206                                                                                                             Credit Card
                                                                                                                                          Loan Repayment
                                                                                                                                          Suppliers or vendors
                                                                                                                                           Other Remaining
                                                                                                                                        Proceeds of
                                                                                                                                        7/23/2019-7/25/2019
                                                                                                                                        Auction


    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                         paid            still owe
           Sarah Ann B. Hay                                         8/18/2018                     $16,446.27          $224,676.20       Reimbursement for feed
           19182 Country Road 87B                                                                                                       bills paid to Modesto
           Esparto, CA 95627                                                                                                            Milling; reimbursement for
                                                                                                                                        business bills paid;
                                                                                                                                        shavings and
                                                                                                                                        diatamaceous earth.




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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     Debtor 1      Christopher Bradley Hay                                                                     Case number (if known)    2019-25191


    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe       Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                               Nature of the case          Court or agency                          Status of the case
           Case number

    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                                 property
                                                                    Explain what happened

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
                No
                Yes. Fill in the details.
           Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

                No
                Yes

     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
                Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
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     Debtor 1      Christopher Bradley Hay                                                                     Case number (if known)    2019-25191


           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)
           Yolo County Food Bank                                         Gifts and Donations of Eggs and                          2/14/2018;               $16,391.00
           233 Harter Avenue                                             Vegetables                                               3/14/2018;
           Woodland, CA 95776                                                                                                     3/21/2018;
                                                                                                                                  4/14/2018;
                                                                                                                                  4/25/2018;
                                                                                                                                  5/16/2018;
                                                                                                                                  7/5/2018;
                                                                                                                                  8/8/2018;
                                                                                                                                  9/6/2018;
                                                                                                                                  10/17/2018;
                                                                                                                                  10/29/2018;
                                                                                                                                  11/6/2018;
                                                                                                                                  11/26/2018;
                                                                                                                                  12/12/2018

           Ashby Health Center                                           30 Melons ($5/each)                                      7/26/2018                    $150.00
           3075 Adeline St., Suite 280
           Berkeley, CA 94703


     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

                No
                Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
           how the loss occurred                                Include the amount that insurance has paid. List pending          loss                             lost
                                                                insurance claims on line 33 of Schedule A/B: Property.

     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
           Address                                                       transferred                                              or transfer was             payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Macdonald Fernandez LLP                                                                                                11/30/2018               $27,165.00
           221 Sansome Street, Third Floor                                                                                        ($2,500.00);
           San Francisco, CA 94104-2323                                                                                           3/27/2019
           www.macfern.com                                                                                                        ($2,500.00);
                                                                                                                                  5/13/2019
                                                                                                                                  ($22,165.00)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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     Debtor 1      Christopher Bradley Hay                                                                     Case number (if known)    2019-25191


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
           Address                                                       transferred                                              or transfer was              payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
             No
                Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or          Date transfer was
           Address                                                       property transferred                       payments received or debts        made
                                                                                                                    paid in exchange
           Person's relationship to you
           Various Buyers at Auction                                     Machinery and Equipment of                 Total received:                   August 12, 2019
           c/o West Auctions                                             Say Hay Farms liquidated at                $106,802.11
           PO Box 278                                                    auction July 23-25, 2019.                  Total Distirubuted:
           Woodland, CA 95776                                            Copies of Itemized Auction                 --West Auctions,
                                                                         Report are attached hereto                 $11,443.02
           None                                                          as Exhibit "4".                            --Sheffiled Financial,
                                                                                                                    $5,583.39
                                                                                                                    --John Deere Financial,
                                                                                                                    $3.737.20
                                                                                                                    --Cal. Dept. of Tax & Fee
                                                                                                                    Admin., $2,796.91
                                                                                                                    --Farm Service Agency,
                                                                                                                    $83,241.77


    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
                No
                Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                            Date Transfer was
                                                                                                                                                      made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
                No
                Yes. Fill in the details.
           Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was               Last balance
           Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,              before closing or
           Code)                                                                                                            moved, or                           transfer
                                                                                                                            transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?            Describe the contents                    Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                 have it?
                                                                         State and ZIP Code)


    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
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     Debtor 1      Christopher Bradley Hay                                                                          Case number (if known)   2019-25191


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access                 Describe the contents                 Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                           have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

           Leased Property [Meade/Robbins                                Pat Meade & Jon Robbins                    Miscellaneous Equipment,                 No
           Lease]                                                        19182 County Road 87B                      Supplies and Property of Say             Yes
           19182 County Road 87B                                         Esparto, CA 95627                          Hay Farms
           Esparto, CA 95627

           Leased Property [Cadena Lease]                                Ramon Cadena, Jr.                          Miscellaneous Equipment,                 No
           17570 County Road 86                                          17570 County Road 86                       Supplies and Property of Say             Yes
           Esparto, CA 95627                                             Esparto, CA 95627                          Hay Farms


     Part 9:      Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                     Describe the property                             Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)

           Jim Q.                                                        Esparto, CA 95627                          (1) Ripper and (2) Harrow                   Unknown
           27500 County Road 25                                                                                     located on the
           Esparto, CA 95627                                                                                        Meade/Robbins property that
                                                                                                                    belong to the neighbor, Jim
                                                                                                                    Q. two properties over.


     Part 10:     Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)




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    25. Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                    Court or agency                            Nature of the case                    Status of the
           Case Number                                                   Name                                                                             case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                     A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                     A member of a limited liability company (LLC) or limited liability partnership (LLP)

                     A partner in a partnership

                     An officer, director, or managing executive of a corporation

                     An owner of at least 5% of the voting or equity securities of a corporation

                No. None of the above applies. Go to Part 12.

                Yes. Check all that apply above and fill in the details below for each business.
           Business Name                                            Describe the nature of the business                  Employer Identification number
           Address                                                                                                       Do not include Social Security number or ITIN.
           (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                         Dates business existed
           Say Hay Farms                                            Farming                                              EIN:       XX-XXXXXXX
           19182 County Road 87B
           Esparto, CA 95627                                        Marcus E. Ullrich, CPA                               From-To    September 2010 to Current


    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                No
                Yes. Fill in the details below.
           Name                                                     Date Issued
           Address
           (Number, Street, City, State and ZIP Code)

           Farm Service Agency                                      May 2018
           7585 S. Longe Street, Suite 100
           Stockton, CA 95206




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     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Christopher Bradley Hay
     Christopher Bradley Hay                                                 Signature of Debtor 2
     Signature of Debtor 1

     Date     August 21, 2019                                                Date

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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                  EXHIBIT 4 to
                   Statement of
                 Financial Affairs
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                                          AUCTION SETTLEMENT
           RE:                 John Deere Tractors, Trucks, and Farm Equipment from Say Hay Organic Farm
                               19182 County Road 87B, Esparto, CA 95627

           DATE:               August 12, 2019

           SELLER:             Say Hay Farms with proceeds assigned to USDA - Farm Service Agency

           SALE DATES:         July 23-25, 2019

           SALE LOCATION:      Online at WestAuction.com


           PROCEEDS OF SALE:

           Property Sold as Listed on Itemized Report                                                104,005.20
           Sales tax collected                                                                         2,796.91

                                                                           TOTAL PROCEEDS:          $106,802.11

           DEDUCTIONS:

           Auctioneer’s Fee                                  10% of $104,005.20                       10,400.52
           Reimbursed Expenses - See Attached Report                                                   1,042.50
           Payoff to Sheffield Financial for Lot 102; Big Tex Trailer                                  5,583.39
           Payoff to John Deere Financial for Lot 100; John Deere Tractor                              3,737.02
           Sales tax sent to CA Dept. of Tax                                                           2,796.91


                                                                        TOTAL DEDUCTIONS:            $23,560.34




                                                                             NET PROCEEDS:           $83,241.77
Filed 08/21/19                                      Case Expense
                                              Reimbursed 19-25191 Report                                                         Doc 9


          Date                       Source                                    Description                          Amount


           04/20/2019   Inspection                Walk-Through Inspection                                           No Charge
           06/20/2019   Auction Setup             (3) Laborers, 27 hrs @$30/hr+OT                                      855.00
           06/21/2019   Auction Setup             (2) Laborers, 15 hrs @$30/hr                                         450.00
           07/22/2019   Auction Preview           (1) Laborer, 6 hrs @$30/hr                                           180.00
           07/30/2019   Auction Removal           (2) Laborers, 18 hrs @$30/hr+OT                                      570.00
           07/31/2019   Auction Removal           (2 Laborers, 18 hrs @$30/hr+OT                                       570.00
           08/01/2019   Auction Removal           (1) Laborer, 8.5 hrs @$30/hr+OT                                      262.50
                                                                                             Sub Total (92.5 hrs)    $2,887.50


                                                                  Labor included with contract; 64 hrs @$30/hr:     -$1,920.00
                                                                 Reimbursed Labor Expense (28.5 hrs @$30/hr:          $967.50


                                                                               DMV Document Processing (3x$25)         $75.00


                                                                                      Total Expenses Reimbursed      $1,042.50




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        West Auctions, Inc.                                    Itemized Auction Report                             July 23-25, 2019
                                                                    Say Hay Farms
      LOT                                                DESCRIPTION                              PRICE               USERNAME
         100   2015 JOHN DEERE 5100 MH 4X4 TRACTOR                                               23,600.00   BUYSELL4U
         101   JOHN DEERE 5075 E 4X4 TRACTOR                                                     14,600.00   BUYSELL4U
         102   2017 BIG TEX 14LX 16' DUMP TRAILER                                                 7,100.00   HLS
         103   2002 JOHN DEERE 4410 4X4 COMPACT TRACTOR WITH FRONT LOADER AND BACKHOE            14,200.00   THIARA4331
         104   CAT GP20 3,600LBS CAPACITY PROPANE FORKLIFT                                        6,650.00   GALAXYFARFARAWAY
         105   CUSTOM BUILT CULTIVATING ELECTRIC TRACTOR                                            560.00   DAIMINHDUC
        105A   8' UTILITY TRAILER (OFFROAD ONLY)                                                    786.00   OLDFARTRUS
         106   KAWASAKI KAF950A 2510 4X4 MULE SIDE BY SIDE                                        3,000.00   SJCRDRIG
         107   2004 ISUZU NPR HD 14' DIESEL BOX TRUCK (SOLD IN POST-AUCTION)                        610.00   OHIODAVE
    109-0186   JOHN DEERE MX5 PTO/3 POINT BRUSH MOWER                                               911.00   DAIMINHDUC
    109-0195   7' X 8' CHAIN DRIVE IMPLEMENT CARRIER                                                405.00   FARMERSMARKETSHOPPER
    109-0402   INTERNATIONAL 13' SEEDER                                                             410.00   FARMERSMARKETSHOPPER
    109-0404   2 ROW 8' DISC                                                                        700.00   SUNTRACKERFARM
     109-400   SPENCER 20' TILT DECK FLATBED TRAILER                                              3,021.00   RBF2017
        109A   JOHN DEERE 665 PTO-POWERED 6' MECHANICAL TILLER                                    1,190.00   STEVEKRAAK
        109C   RAIN-FLO 1600 SERIES II VEGETABLE TRANSPLANTER                                     2,150.00   BLUEOAKS
         110   HOME-BUILT 32'X10.25' STEEL CONSTRUCTION TRAILER MOUNTED CHICKEN COOP                290.00   POISONPEDDLER
        110A   HOME-BUILT 25' FLATBED TRAILER WITH 25' AND 8' CONVEYOR BELT SYSTEM                   55.00   RICHR
         111   HOME-BUILT 32'X10.25' STEEL CONSTRUCTION TRAILER MOUNTED CHICKEN COOP                160.00   TOMATO
         112   HOME-BUILT 32'X10.25' STEEL CONSTRUCTION TRAILER MOUNTED CHICKEN COOP                535.00   TOMATO
         113   HOME-BUILT 24' X 10' WOOD CONSTRUCTION TRAILER MOUNTED CHICKEN COOP                Not Sold   Not Sold
         115   HOME-BUILT 24' X 10' WOOD CONSTRUCTION TRAILER MOUNTED CHICKEN COOP                Not Sold   Not Sold
         116   HOME-BUILT 50' X 12' WOOD CONSTRUCTION TRAILER MOUNTED CHICKEN COOP                Not Sold   Not Sold
         117   (110+) 30' 3" ALUMINUM IRRIGATION PIPE WITH PIPE TRAILER AND SPRINKLER FITTINGS    1,560.00   SUNTRACKERFARM
         118   HUSKY ELECTRIC CEMENT MIXER                                                           42.00   NATIVE350
         119   40"×2' DIAMETER AUGER ATTACHMENT                                                     160.00   DOUBLEOONOTHING
         120   14"×16"×16" HYDRAULIC FLUID TANK AND RELATED COMPONENTS                              115.00   KJONES95206
         121   (12+) 2.5"-4" IRRIGATION PIPE CONNECTORS                                             105.00   ALFARO
         122   CRAFTSMAN 12" MOTORIZED PORTABLE TABLE SAW                                             5.00   OLDSARGE77
         123   (1) MARUYAMA AND (2) HONDA MOTORS WITH PUMPS                                          85.00   POISONPEDDLER
         124   FARM IMPLEMENT ATTACHMENT                                                              5.00   DANNYGEEZ
         125   APPROX. 200-GALLON PLASTIC OPEN-TOP CHEMICAL TANK WITH FORKLIFTABLE METAL FRAME       26.00   SPREADWING
         126   225-GALLON PLASTIC CHEMICAL TANK AND HOSE                                            105.00   ADDICT


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        West Auctions, Inc.                                   Itemized Auction Report                     July 23-25, 2019
                                                                   Say Hay Farms
      LOT                                              DESCRIPTION                      PRICE              USERNAME
        127   13' SPRAYER ATTACHMENT WITH HYPRO 3500C ROLLER PUMP                          25.00   HERDEL
        128   (2) 55-GALLON CHEMICAL TANKS AND (1) SET OF MOUNTING BRACKETS                40.00   WILLIS
        129   14.5' TRACTOR TOOL BAR ATTACHMENT WITH (2) 55-GALLON STORAGE TANKS           50.00   WILLIS
        130   3-POINT HITCH RECEIVER                                                     155.00    ALFARO
        131   (2) MECHANICAL EQUIPMENT ATTACHMENTS AND PLASTIC GEARS                       65.00   COWBOYJOE
        132   (7) 15" JOHN DEERE 71 LOW-PROFILE EQUIPMENT TIRES AND METAL COVERS            5.00   COWBOYJOE
        133   (2) JOHN DEERE 71 MECHANICAL EQUIPMENT ATTACHMENTS AND PLASTIC GEARS       105.00    COWBOYJOE
        134   (4) JOHN DEERE 71 TRACTOR TOOL BAR ATTACHMENT BRACKETS AND HARDWARE          10.00   WILLIS
        135   PALLET OF (5) JOHN DEERE 71 FIRMING WHEELS                                    5.00   COWBOYJOE
        136   WOODEN CRATE OF JOHN DEERE 71 SEED HOPPERS                                 155.00    COWBOYJOE
        137   (3) JOHN DEERE 71 MECHANICAL EQUIPMENT ATTACHMENTS                         105.00    COWBOYJOE
        139   (6) 12"-HIGH CONCRETE FOOTINGS                                                5.00   ATHENA
        140   (7) PLOW ATTACHMENTS AND HARDWARE                                          125.00    DAIMINHDUC
        141   (1) 15' TRACTOR TOOL ATTACHMENT BAR                                          80.00   DOUBLEOONOTHING
        142   (1) 15' TRACTOR TOOL ATTACHMENT BAR                                          30.00   DAIMINHDUC
        143   (5) HOMEMADE TOOL BARS AND PLOW ATTACHMENTS                                  40.00   DAIMINHDUC
        144   TRACTOR DRIVESHAFT AND PROTECTIVE COVER                                    120.00    ADDICT
        145   (2) 12"×24" COMPACTOR/ROLLER ATTACHMENTS                                   410.00    WILLIS
        146   (1) 30" TRACTOR TOOL BAR AND (10+) TOOL ATTACHMENT CLAMPS                  261.00    DAIMINHDUC
        147   PALLET: HYDRAULIC ARMS AND PLOW/CULTIVATOR COMPONENTS                        55.00   DAIMINHDUC
        148   PALLET: DISC HARROW COMPONENTS                                             200.00    SCOOTCHDOG
        149   PALLET: PLOW/CULTIVATOR COMPONENTS                                           36.00   RBF2017
        150   (6) STANHAY MECHANICAL SEED DISPENSERS AND TOTE OF RELATED BELTS/PARTS       45.00   COWBOYJOE
        151   PALLET: (3) STANHAY METERING ATTACHMENTS FOR SEED DISPERSION UNITS           35.00   COWBOYJOE
        152   STANHAY 3 ROW SEEDER WITH 3 POINT HITCH                                    140.00    PABLITOTFF
        154   6' HEAVY DUTY 3-POINT ATTACHMENT WITH (2) PLOW TOOLS                       540.00    SUNTRACKERFARM
        155   20" PLOW TOOL ATTACHMENT                                                     40.00   RBF2017
        156   TORO DRIP TAPE INJECTOR                                                    760.00    IAMBIC
        157   FRONTIER 3 POINT 6' SCRAPER                                                581.00    DAIMINHDUC
        158   60" BED MULCHER                                                            260.00    SCOOTCHDOG
        160   M.T. MECHANICAL TRANSPLANTER AND SPARE PARTS                               530.00    SUNTRACKERFARM
        162   17" CULTIVATOR BAR                                                           30.00   NATIVE350
        163   17" CULTIVATOR BAR                                                           20.00   NATIVE350


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        West Auctions, Inc.                                      Itemized Auction Report                     July 23-25, 2019
                                                                      Say Hay Farms
      LOT                                                DESCRIPTION                       PRICE              USERNAME
        164   14" CULTIVATOR BAR                                                              40.00   JRYAN7
        165   17" CULTIVATOR BAR                                                              25.00   NATIVE350
        166   14" CULTIVATOR BAR                                                              40.00   JRYAN7
        167   12" CULTIVATOR BAR                                                              15.00   JRYAN7
        168   12" CULTIVATOR BAR                                                              15.00   JRYAN7
        169   12" CULTIVATOR BAR                                                              15.00   JRYAN7
        170   (2) CULTIVATOR ATTACHMENTS                                                      10.00   MONKEYFARM
        171   17" CULTIVATOR BAR                                                              20.00   NATIVE350
        172   12" CULTIVATOR BAR                                                              20.00   JRYAN7
        173   17" CULTIVATOR BAR                                                              30.00   NATIVE350
        174   17" CULTIVATOR BAR                                                              40.00   MONKEYFARM
        175   1' PLOW ATTACHMENT                                                              50.00   DAIMINHDUC
        176   COSMO 500 SEED SPREADER                                                        310.00   TONYMEHROKE
        177   PROO 3 ROW SEEDER                                                               55.00   ALFARO
        179   6' TOOL BAR WITH 4' ROLLER                                                     685.00   DEANFF
        180   WASCO 3 POINT PLOW                                                             361.00   IAMBIC
        181   4 ROW ROWER 15'/3 POINT HITCH                                                  495.00   SCOOTCHDOG
        182   8' 3 POINT/PTO TILLER                                                        1,450.00   JRYAN7
        183   WASCO 3 ROW SEEDER WITH 3 POINT HITCH                                          270.00   SCOOTCHDOG
        184   (3) PALLETS OF 7' FENCE STAKES                                                 360.00   FRANKM
        185   (2) PALLETS OF 7' STEEL FENCE STAKES                                           350.00   SPREADWING
        187   WASCO 3 POINT HYDRAULIC REEL                                                   105.00   WILLIS
        188   PAKFORK 42" 3 POINT FORK ATTACHMENT                                            250.00   ALFARO
        189   CUSTOM BUILT PLASTIC MULCH APPLICATOR FOR 48" ROLLS                            310.00   SCOOTCHDOG
        190   FORD 2 ROW 6' DISC ATTACHMENT                                                  471.00   ALFARO
        191   IRRIGATION TRAILER WITH (60+) 30' X 3" PIPES                                 1,160.00   CRIMSON_SWEET
        192   (8) 7' TRAILER AXELS AND (8) TIRES 7-14.5                                      326.66   OLDOAKRANCH
        193   (7) SCRAP STEEL BEAMS 23'                                                      326.66   OLDOAKRANCH
        194   BUNDLE OF 35' DAMAGED FARM IRRIGATION                                           10.00                  19521956
        196   BUNDLE OF 30' FARM IRRIGATION (SOME DAMAGED)                                    40.00   BBHATFIELD
        197   HOME-BUILT FARM TRAILER FRAME 6' X 6'                                          126.66   TONYMEHROKE
        199   (9) ROLLS OF 6' FENCING                                                         55.00   FRANKM
       199A   (6) ROLLS OF 6' FENCING                                                         36.00   FRANKM


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        West Auctions, Inc.                                     Itemized Auction Report                     July 23-25, 2019
                                                                     Say Hay Farms
      LOT                                              DESCRIPTION                        PRICE              USERNAME
        200   12 TON HYDRAULIC JACK                                                          32.00   POISONPEDDLER
        204   FLOOR JACK                                                                     10.00   SJCRDRIG
        205   PITTSBURGH 6 TON JACK                                                           5.00   SPREADWING
        206   BOX OF HARDWARE; BOLTS, CARRIAGE BOLTS, U-BOLTS                                 5.00   RICHR
        207   PITTSBURGH BEARING SEPERATOR AND PULLER SET                                    42.00   ALFARO
        208   PITTSBURGH RADIATOR PRESSURE TEST KIT                                          25.00   KAILUAMOM
        209   (3) LYNCH PIN ASSORTMENT KITS                                                  25.00   IAMBIC
        210   BOX OF PVC FITTINGS                                                             5.00   BBHATFIELD
        211   HARDWARE ORGANIZER WITH CONTENTS                                               70.00   ZAMORAFLORA
        212   CRAFTSMAN COLORMATIC 230 AMP ARC WELDER                                        62.00   KAILUAMOM
        213   LINCOLN ELECTRIC 180 DUAL POWER MIG CART KIT                                 400.00    BIDON35
        214   RIDGID R41421 14" SAW                                                          46.00   KAILUAMOM
        215   (2) TOR REY CLASS III SCALES                                                   15.00   ALFARO
        216   FINISH THOMPSON M7T                                                             5.00   DANNYGEEZ
        217   RYOBI SAW                                                                      21.00   KAILUAMOM
        218   BIN OF TOOLS; SLEDGEHAMMER, WRENCHES, PRYBARS, CAULKING GUNS                   45.00   ATHENA
        220   CRATE OF ELECTRICAL COMPONENTS; PRESSURE SWITCH                                 5.00   BBHATFIELD
        221   CRATE OF HARDWARE; WHEELS, NAILS                                                5.00   DOVESTRIUMPH
        222   BOX OF GRINDING WHEELS AND SAW BLADES                                          15.00   POISONPEDDLER
        223   CRATE OF ASSORTED HARDWARE                                                     10.00   BIDON35
        224   11 GALLON AIR TANK                                                             30.00   ALFARO
        225   BOX OF ASSORTED HARDWARE                                                        5.00   OLDSARGE77
        227   DUAL LAMP WORK LIGHT                                                           10.00   POISONPEDDLER
        228   SANDING / POLISHING STATION                                                    70.00   TONYMEHROKE
        229   REXON 500MT2 DRILL PRESS                                                     105.00    ALFARO
        230   BUCKET OF CHAIN                                                                 5.00   DANNYGEEZ
        231   GEOTOP GL3 LASER LEVER WITH STABILA TRIPOD                                   135.00    BIDON35
        234   3 POINT HITCH WORK PLATFORM 14' X 64" (SHADE TARP / POLES INCLUDED)          165.00    SUNTRACKERFARM
        235   (5) HARVESTING BINS 46" X 46"                                                425.00    POISONPEDDLER
        236   PALLET OF; (60+) CRATES                                                      220.00    RIVERDOG
        237   PALLET OF; (30) CRATES                                                         75.00   PABLITOTFF
        238   PALLET OF; (11) CRATES                                                         56.00   JRYAN7
        239   PALLET OF; (25) CRATES                                                         50.00   KAILUAMOM


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        West Auctions, Inc.                                    Itemized Auction Report                     July 23-25, 2019
                                                                    Say Hay Farms
      LOT                                             DESCRIPTION                        PRICE              USERNAME
        240   PALLET OF; (17) CRATES                                                        15.00   MARSHALLMAC
        241   PALLET OF; (35) CRATES                                                        80.00   MARSHALLMAC
        242   SCALE 47" X 47"                                                             135.00    ALFARO
        243   100LB PROPANE TANK                                                            81.85   KAILUAMOM
        244   WATERMARK SOLAR SYSTEM                                                        50.00   ALFARO
        245   EARTHWAY PRECISION GARDEN SEEDER                                              80.00   KAILUAMOM
        246   EXTENDABLE CONVEYOR BELT 6' X 2' FOLDED                                       54.00   RIVERDOG
        247   STAINLESS STEEL TABLE 5' X 2' X 34"                                         112.00    SPREADWING
        248   RACK 48" X 24" X 36"                                                          45.00   SPREADWING
        249   CUSTOM MADE WASHING TABLE 5' X 39" X 32"                                      26.00   SPREADWING
        250   STAINLESS STEEL TABLE 8' X 24" X 34"                                          81.50   SPREADWING
        251   ROLLING ROAD CASE 41" X 37" X 21"                                             72.87   KAILUAMOM
        252   ROLLING ROAD CASE AND CONTENTS 50" X 32" X 42"                              135.00    KAILUAMOM
        253   CLEAN FORGE 1800 PSI POWER WASHER                                             30.00   ALFARO
        254   HUSKY 3650 PORTABLE GAS GENERATOR                                           105.00    DAIMINHDUC
        255   CRATE OF TOOLS; WEED WACKER                                                   15.00   DOUBLEOONOTHING
        256   APPROXIMATELY (16) BOOTS                                                      25.00   ATHENA
        257   HONDA 4 STROKE WEED WACKER                                                    70.00   JESANTMUR1
        258   CAMPBELL HAUSFIELD AIR COMPRESSOR                                             27.00   KAILUAMOM
        259   40 GALLON SPRAY TANK WITH PUMP                                                75.00   ATHENA
        260   CONTENTS OF SHELF; CAULKING, HAND TOOLS, TUBING, PAINT                         5.00   BIONICVET
        261   CRAFTSMAN 16 GALLON WET/DRY VACUUM                                            15.00   TONYMEHROKE
        262   (3) WATER TANKS                                                                5.00   MONKEYFARM
        263   (3) COOLERS                                                                   50.00   SPREADWING
        264   (2) EXTENSION CORDS                                                           40.00   SPREADWING
        265   CONTENTS OF SHELF; TOOL BAG, EGG CRATES, HEATERS,                             55.00   POISONPEDDLER
        266   STAINLESS STEEL TABLE 48" X 24" X 34"                                       121.00    SPREADWING
        267   STAINLESS STEEL TABLE 48" X 24" X 34"                                       175.00    SPREADWING
        268   STAINLESS STEEL TABLE 48" X 24" X 34"                                       165.00    STAVEWALL19
        269   TABLE 39" X 24" X 29"                                                          5.00   EOWYN
        270   HUSKY CART 31" X 16" X 27"                                                    30.00   HERINGERWINE
        271   (11) AUTO WATERS                                                              10.00   ALIBABA1962
        272   (9) FEEDERS                                                                    5.00   ALIBABA1962


                                                                       Page 5 of 7
Filed 08/21/19                                                    Case 19-25191                                               Doc 9
        West Auctions, Inc.                                    Itemized Auction Report                     July 23-25, 2019
                                                                    Say Hay Farms
      LOT                                             DESCRIPTION                        PRICE              USERNAME
        273   (12) CHICKEN DRINKERS/WATERS                                                  50.00   BLUEOAKS
        274   (10) FEEDERS                                                                  65.00   BLUEOAKS
        275   (8) STORAGE CRATES                                                            25.00   BGILLMING
        276   PALLET OF (36) CRATES                                                         50.00   JFARMS
        277   PALLET OF (32) CRATES                                                         40.00   JFARMS
        278   PALLET OF (34) CRATES                                                         45.00   JFARMS
        279   PALLET OF (36) CRATES                                                         45.00   ZAMORAFLORA
        280   (8) ROLLS OF 6' FENCING                                                       35.00   AUCTION3
        281   (2) 10 HOLE KUHL EGG NESTING COOPS                                          360.00    THOUD23
        282   (1) 10 HOLE KUHL EGG NESTING COOP                                           277.00    DEANFF
        283   (2) 10 HOLE KUHL EGG NESTING COOPS                                          350.00    JESANTMUR1
        284   (2) 10 HOLE KUHL EGG NESTING COOPS                                          290.00    THOUD23
        285   (2) 250 GAL. CHEMICAL TANKS                                                    5.00   SPREADWING
        286   PALLET OF; OIL, HYDRAULIC OIL,                                                85.00   AUCTION3
        287   PALLET OF; SPRAYER, BUCKET PUMP,                                              40.00   KAILUAMOM
        288   PALLET OF; PLASTIC PIPES AND SPRINKLERS                                       25.00   MVJWRB
        289   PALLET OF; SPARE SPRINKLERS                                                   95.00   SPREADWING
        290   BULK LOT; OLD AGRICULTURE SPRAY HOSES                                         30.00   MVJWRB
        291   STACK OF EGG TRAYS                                                            50.00   FARMER777
        292   (60+) PLASTIC BASKETS                                                         95.00   JFARMS
        296   (2) MANUAL SEED PLANTING IMPLEMENTS                                           70.00   DOVESTRIUMPH
        297   (4) PROPANE TANKS                                                             15.00   KAILUAMOM
        298   PREMIER PRS 100 SOLAR FENCE ENERGIZER WITH ELECTRICAL FENCING               291.00    KAILUAMOM
        299   EASY UP SHADE SYSTEM                                                        207.00    KAILUAMOM
        300   (4) GAS TANKS                                                                 35.00   SPREADWING
        301   (2) 6' LIFETIME TABLES                                                        40.00   SPREADWING
        302   5500LB PALLET JACK                                                          115.00    KAILUAMOM
        303   PALLET OF BURLAP SACKS                                                        25.00   BBHATFIELD
        304   (4) SCALES WITH (2) CARRY CASES                                             105.00    KAILUAMOM
        305   BULK LOT: SEEDS                                                             143.00    BLUEOAKS
        306   OFFICE FURNITURE                                                              15.00   SPREADWING
        307   10' X 12' SUN GUARD                                                           15.00   SPREADWING
        401   (5) 300 GALLON CAGED FORKLIFTABLE TANKS                                       35.00   ROADRUNNER68


                                                                     Page 6 of 7
Filed 08/21/19                                     Case 19-25191                                                          Doc 9
        West Auctions, Inc.                   Itemized Auction Report                                  July 23-25, 2019
                                                   Say Hay Farms
      LOT                            DESCRIPTION                                        PRICE            USERNAME
        403 8' X 16" RING ROLLER                                                          560.00 SUNTRACKERFARM
        405 BROKEN IRRIGATION PIPE                                                          5.00 BBHATFIELD
                                                                        AUCTION TOTAL 104,005.20




                                                     Page 7 of 7
Filed 08/21/19                                                                Case 19-25191                                                             Doc 9


     Fill in this information to identify your case:

     Debtor 1                  Christopher Bradley Hay
                               First Name                       Middle Name              Last Name

     Debtor 2
     (Spouse if, filing)       First Name                       Middle Name              Last Name

                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number            2019-25191
     (if known)                                                                                                              Check if this is an
                                                                                                                             amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         Affiliated Equipment Financing                       Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of        Finger Cultivator                                 Reaffirmation Agreement.
        property                                                                Retain the property and [explain]:
        securing debt:



        Creditor's         Bank of Hope                                         Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of 2330 Temple Drive Davis, CA                              Reaffirmation Agreement.
        property       95618 Yolo County                                        Retain the property and [explain]:
        securing debt: Debtor's primary residence (3
                       bedroom/2 bath residential,
                       1234 sq. ft.).
                       APN: 032-183-019-000
                       Christopher B. Hay and Jana D.
                       Hay, Husband and Wife as Joint
                       Tenants                                                Continue Contractual Payments




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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     Debtor 1      Christopher Bradley Hay                                                                Case number (if known)   2019-25191


        Creditor's     Capital One Auto Finance                                 Surrender the property.                                 No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                    Yes
        Description of 2017 Chrysler Pacifica 37,389                            Reaffirmation Agreement.
        property       miles                                                    Retain the property and [explain]:
        securing debt: Registered Owner: Jana Hay                             Continue Contractual Payments


        Creditor's     Farm Service Agency                                      Surrender the property.                                 No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                    Yes
        Description of      Citrus orchard estalishment and                     Reaffirmation Agreement.
        property            maintenance. Promissory Note                        Retain the property and [explain]:
        securing debt:      for Subsequent Loan (Principal
                            $190,000, 4% per annum) for 32
                            years.


        Creditor's     Farm Service Agency                                      Surrender the property.                                 No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                    Yes
        Description of      Restructured operating line                         Reaffirmation Agreement.
        property            during business expansion.                          Retain the property and [explain]:
        securing debt:      Promissory Note for Initial Loan
                            (Principal $71,000, 2.5% per
                            annum). Loan rescheduled
                            10/18/2016 (Principal
                            $73,824.58, 2.1250% per annum)
                            for 15 years.


        Creditor's     Farm Service Agency                                      Surrender the property.                                 No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                    Yes
        Description of      Development of Farm Property:                       Reaffirmation Agreement.
        property            AG well, packing facility,                          Retain the property and [explain]:
        securing debt:      coolers. Promissory Note for
                            Subsequent Loan (Principal
                            $229,000, 2.5% per annum).


        Creditor's     First Northern Bank of Dixon                             Surrender the property.                                 No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                    Yes
        Description of      Operation Line of Credit.                           Reaffirmation Agreement.
        property            Promissory Note for Line of                         Retain the property and [explain]:
        securing debt:      Credit (Principal $100,000,
                            variable interest rate) -
                            Christopher B. Hay DBA Say
                            Hay Farms


        Creditor's     USAA Federal Savings Bank                                Surrender the property.                                 No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                    Yes


    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 2

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     Debtor 1      Christopher Bradley Hay                                                                Case number (if known)    2019-25191

         Description of 2015 Dodge Ram 1500 SLT                                  Reaffirmation Agreement.
         property       Crew Cab 83,867 miles                                   Retain the property and [explain]:
         securing debt: Registered Owner: Christopher
                        B. Hay                                                Continue Contractual Payments

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                              Will the lease be assumed?

     Lessor's name:               Citizens One Financing                                                                              No

                                                                                                                                      Yes

     Description of leased        2 Year customer agreement for iPhone Purchase commencing January,
     Property:                    2018; $56.16 monthly payment, $280.96 outstanding.


     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Christopher Bradley Hay                                                  X
           Christopher Bradley Hay                                                          Signature of Debtor 2
           Signature of Debtor 1

           Date        August 21, 2019                                                  Date




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 3

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Filed 08/21/19                                                                    Case 19-25191                                                                                  Doc 9


     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Christopher Bradley Hay
     Debtor 2                                                                                                  1. There is no presumption of abuse
     (Spouse, if filing)

                                                        Eastern District of California,                        2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Sacramento Division                                        applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number           2019-25191                                                                          3. The Means Test does not apply now because of
     (if known)                                                                                                    qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                                         $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                                         $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                                         $
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                         -$
            Net monthly income from a business, profession, or farm $                         Copy here -> $                          $
      6. Net income from rental and other real property
                                                                                          Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                         -$
            Net monthly income from rental or other real property             $               Copy here -> $                          $
                                                                                                           $                          $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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Filed 08/21/19                                                               Case 19-25191                                                                                  Doc 9
     Debtor 1     Christopher Bradley Hay                                                                 Case number (if known)   2019-25191


                                                                                                      Column A                     Column B
                                                                                                      Debtor 1                     Debtor 2 or
                                                                                                                                   non-filing spouse
      8. Unemployment compensation                                                           $                                     $
         Do not enter the amount if you contend that the amount received was a benefit under
         the Social Security Act. Instead, list it here:
            For you                                          $
                For your spouse                                          $
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                      $                            $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                    $                            $
                                                                                                      $                            $
                      Total amounts from separate pages, if any.                                  +   $                            $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =    $

                                                                                                                                                    Total current monthly
                                                                                                                                                    income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>             $


                  Multiply by 12 (the number of months in a year)                                                                                       x 12
           12b. The result is your annual income for this part of the form                                                               12b. $


      13. Calculate the median family income that applies to you. Follow these steps:
           Fill in the state in which you live.

           Fill in the number of people in your household.
           Fill in the median family income for your state and size of household.                                                        13.    $
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Christopher Bradley Hay
                    Christopher Bradley Hay
                    Signature of Debtor 1
            Date August 21, 2019
                 MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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Filed 08/21/19                                                                 Case 19-25191                                                                     Doc 9


     Fill in this information to identify your case:

     Debtor 1            Christopher Bradley Hay

     Debtor 2
     (Spouse, if filing)

                                                        Eastern District of California,
     United States Bankruptcy Court for the:            Sacramento Division
                                                                                                      Check if this is an amended filing
     Case number         2019-25191
     (if known)



    Official Form 122A - 1Supp
    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

    File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
    exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
    exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
    required by 11 U.S.C. § 707(b)(2)(C).

     Part 1:         Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
         personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
         Individuals Filing for Bankruptcy (Official Form 1).

               No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                   supplement with the signed Form 122A-1.
               Yes. Go to Part 2.


     Part 2:         Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
               No. Go to line 3.
               Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                    10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.    Go to line 3.
                      Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                             submit this supplement with the signed Form 122A-1.

      3. Are you or have you been a Reservist or member of the National Guard?
               No.     Complete Form 122A-1. Do not submit this supplement.
               Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.    Complete Form 122A-1. Do not submit this supplement.
                      Yes.   Check any one of the following categories that applies:
                                                                                                If you checked one of the categories to the left, go to Form
                             I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                             90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                                submit this supplement with the signed Form 122A-1. You
                             I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                             90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                             which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                                homeland defense activity, and for 540 days afterward. 11
                             I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                             I performed a homeland defense activity for at least 90 days,
                                                                                                   If your exclusion period ends before your case is closed,
                             ending on                  , which is fewer than 540 days before I
                             file this bankruptcy case.                                            you may have to file an amended form later.




    Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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